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                           IN THE UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

  In Re:
                                                  Case 12-11393-WHD
  KENNETH L. GREEN and
  CYNTHIA R. GREEN,                               Ch. 11

             Debtors.


  FREEPORT TITLE & GUARANTY, INC.
  as TRUSTEE OF THE TROUP COUNTY
  THREE TRUST,

             Petitioner,

  v.                                              Adversary Proceeding No. ____________

  SUMMITBRIDGE NATIONAL
  INVESTMENTS V, LLC

             Respondent.


                        NOTICE OF REMOVAL AND MOTION TO REOPEN

         Comes now SummitBridge National Investments V, LLC (“SummitBridge”) as successor-

 in-interest to Creditor Branch Banking & Trust Company (“BB&T”) and files this its Notice of

 Removal and Motion to Reopen the joint bankruptcy case of Debtors Kenneth L. Green and

 Cynthia R. Green (the “Greens”) to bring an adversary proceeding against the Greens and their

 successor-in-interest Freeport Title & Guaranty, Inc. as Trustee of the Troup County Three Trust

 (the “Freeport Trustee”). SummitBridge removes this action under 28 U.S.C. § 1452 and Federal

 Rule of Bankruptcy Procedure 9027.

       I.          Background

         Prior to bankruptcy and on February 16, 2007, the Greens executed a promissory note to

 BB&T in the amount of $320,831.27 and a security deed in the same amount providing BB&T a


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 security interest in three tracts of land commonly known as: (1) 415 Ashford Circle, LaGrange,

 Georgia 30240, (2) 210 White Street, Hogansville, Georgia 30230, and (3) 517 Boyd Road,

 Hogansville, Georgia 30230 (collectively, the “Property”). Claim 6-1.

         On May 11, 2012, the Greens filed a petition for Chapter 11 bankruptcy relief. Dkt. No. 1.

 The Greens included in their schedules their interest in the Property and described the Ashford

 Circle property as their residence and the White Street and Boyd Road properties as residential

 rental properties. Dkt. No. 13 at 9. The Property had a total scheduled value of $325,000. Dkt. No.

 46 at 2. The Greens also scheduled a secured claim in favor of BB&T1 secured by the Property.

 Dkt. No. 13 at 14. This included a first position lien on the White Street and Boyd Road properties

 and a second position lien2 on the Ashford Circle property. Dkt. No. 13 at 14. BB&T filed a secured

 proof of claim in the amount of $231,072.14. Claim 6-1.

         On July 22, 2013, the Greens’ Amended Plan of Reorganization (“Plan”) was confirmed.

 Dkt. No. 85. The Plan fixed BB&T’s claim at $231,072.41 plus additional interest and provided

 that BB&T would receive monthly payments of $1,557.07 until the debt was paid in full, including

 post-petition interest or fees allowed under the Bankruptcy Code. Dkt. No. 71 at 9. The Court

 retained jurisdiction over the case to, among other things, adjudicate disputes related to

 enforcement of the Plan or administration of the Greens’ estate. Dkt. No. 71 at 17-18. At the

 Greens’ request, their case was thereafter administratively closed. Dkt. No. 119.

         Since confirmation and on June 28, 2016, BB&T assigned its interest in the Property to

 SummitBridge via a recorded assignment of security instruments (“Assignment”). A true and

 correct copy of the recorded Assignment is attached hereto as Exhibit A and incorporated by


         1 The Greens scheduled the name of the creditor as BB&T Processing Center.

         2 According to the Greens’ schedules, Creditor Bayview Financial Loan held a first position lien on the
 Ashford Circle property. Dkt. No. 13 at 14.


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 reference. On August 16, 2019, the Greens transferred their interest in the Property via a quitclaim

 deed to the Freeport Trustee. On September 17, 2019, the Freeport Trustee filed its Verified

 Petition to Quiet Title in the Superior Court of Troup County, Georgia against SummitBridge

 (“Quiet Title Petition”). A true and correct copy of the Quiet Title Petition and the remainder of

 the state court record is attached hereto as composite Exhibit B and incorporated by reference.

         Prior to the transfer, the Greens were in default under the confirmed Plan. Further,

 SummitBridge and the Greens were negotiating in good faith for repayment of the debt, and these

 negotiations continued after the date of the transfer to the Freeport Trustee, without the Greens

 providing any information to SummitBridge about the existence of the transfer. SummitBridge

 now seeks to reopen the Greens’ case so that it may remove the Quiet Title Petition and bring

 counterclaims for breach of contract related to the confirmed Plan and the promissory note and for

 fraudulent transfer related to the transfer from the Greens to the Freeport Trustee.

      II.       Motion to Reopen

         The Greens’ estate has only been administratively closed rather than closed as intended by

 Section 350 of the Bankruptcy Code. See In re Garcia, No. 12-41403-MSH, 2018 WL 3524581,

 at *3 (Bankr. D. Mass. July 20, 2018) (“In the context of individual debtor chapter 11 cases, the

 concept of administrative closing appears to be a legal construct intended to represent something

 qualitatively less final than statutory closing.”). Therefore, to what extent SummitBridge needs to

 seek to reopen this case to remove the Quiet Title Petition is unclear. Regardless, SummitBridge

 meets the factors necessary to show that this case should be reopened to allow SummitBridge to

 bring an adversary proceeding to resolve the Quiet Title Petition and to bring claims against the

 Greens to enforce the Plan and for fraudulent transfer.

         “A motion to reopen a bankruptcy case is governed by 11 U.S.C. § 350(b) and Federal Rule

 of Bankruptcy Procedure 5010.” In re Upshur, 317 B.R. 446, 450 (Bankr. N.D. Ga. 2004) “A case

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 may be reopened in the court in which such case was closed to administer assets, to accord relief

 to the debtor, or for other cause.” 11 U.S.C. § 350(b). “Motions to reopen are made for a variety

 of reasons, and they can be made by the debtor, the trustee, or any party in interest.” In re Upshur,

 317 B.R. at 450 (citing Fed. R. Bankr. P. 5010). “The decision on whether to reopen a case is

 within the sound discretion of the bankruptcy court.” Id. “[T]he bankruptcy court ‘should exercise

 its discretion based upon the peculiar facts present.’” In re James, 487 B.R. 587, 591 (Bankr. N.D.

 Ga. 2013) (quoting In re Barger, 279 B.R. 900, 904 (Bankr. N.D. Ga. 2002)).

         “Courts have looked to three interests in determining whether to reopen a closed

 bankruptcy case: (1) benefit to the debtor; (2) prejudice or detriment to the opponent of reopening;

 and (3) benefit to the debtor’s creditors.” Id. at 594; see also In re Odin Demolition & Asset

 Recovery, 544 B.R. 615, 628 (Bankr. S.D. Tex. 2016) (providing six factor test). Here, the Greens

 and the Freeport Trustee likely oppose reopening the case. However, these combined interests do

 not outweigh the benefit to the Greens’ creditors because the Greens and Freeport have colluded

 to the detriment of those same creditors – SummitBridge. There is case law to suggest that “[w]hen

 property is sold by the trustee with the approval of the court, the buyer acquires title clear of all

 claims in bankruptcy.” See Miller v. Kemira, Inc. (In re Lemco Gypsum, Inc.), 910 F.2d 784, 788

 (11th Cir. 1990). However, this rule does not apply when there has been fraud or collusion in that

 sale. Id. Further, courts have held that “[s]ince any property recovered by an avoidance action

 becomes estate property to be administered,” then “[t]he bankruptcy court is obliged to reopen a

 case when a prima facie case is made that an estate has not been fully administered.” See, e.g.,

 Redmond v. Kopp (In re Kopp), 383 B.R. 179, 185-86 (Bankr. D. Kan. 2008). Therefore, the Court

 should reopen this case to prevent the loss of SummitBridge’s interest in the Property through

 adjudication of the fraudulent transfer claim.



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         Additionally, in the confirmed Plan, the Court retained jurisdiction over the estate in

 several relevant aspects including:

         12.1.7 To construe or interpret any provisions in this Plan and to issue such orders
         as may be necessary for the implementation, execution and consummation of this
         Plan, to the extent authorized by the Bankruptcy Court;

         12.1.8 To adjudicate controversies arising out of the administration of the Estates
         or the implementation of this Plan;

         12.1.9 To make such determinations and enter such orders as may be necessary to
         effectuate all the terms and conditions of this Plan, including the Distribution of
         funds from the Estate and the payment of claims; . . .

         12.1.13 To determine any controversies, actions or disputes that may arise under
         the provisions of this Plan, or the rights, duties or obligations of any Person under
         the provisions of this Plan; [and]

         12.1.14 To adjudicate any suit, action or proceeding seeking to enforce any
         provision of, or based on any matter arising out of, or in connection with, any
         agreement pursuant to which the Debtor sold any of its assets during the Bankruptcy
         Case.

 Dkt. No. 71 at 17-18. It is clear that SummitBridge seeks to reopen this case pursuant to this

 Court’s retained jurisdiction over the administration of the Greens’ bankruptcy case and in

 particular relevant to the Greens’ sale of the Property. Therefore, to the extent necessary, the Court

 should reopen this case.

     III.       Removal

         This Court has subject matter jurisdiction over this case under 28 U.S.C. § 1334.

 Additionally, removal directly to the bankruptcy court, rather than the district court, is proper. Gen.

 Instrument Corp. v. Fin. & Business Servs., Inc. (In re Finley), 62 B.R. 361, 364-66 (Bankr. N.D.

 Ga. 1986) (holding action removed to bankruptcy court was proper because it was automatically

 referred to bankruptcy court); see also Indus. Clearinghouse, Inc. v. Mims (In re Coastal Plains,

 Inc.), 326 B.R. 102, 107 (Bankr. N.D. Tex. 2005) (“[T]he majority of courts to look at this issue

 have found that removal to the bankruptcy court is proper.”) (collecting cases); but see Bridge

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 Assocs., LLC v. North River, LLC (In re Durango Ga. Paper Co.), Bankr. No. 02-21669, Adv. No.

 09-02008, 2009 WL 5322409, at *2-3 (Bankr. S.D. Ga. May 8, 2009) (holding removal to

 bankruptcy court instead of district court was improper).

         A.     Jurisdiction over the Quiet Title Petition

         The Court has jurisdiction, both bankruptcy and diversity, over the Quiet Title Petition.

 First, the Court has bankruptcy jurisdiction over the Quiet Title Petition because (1) the Court

 explicitly retained jurisdiction in the confirmed Plan; (2) the action affects property of the estate;

 and (3) it is related to the Greens’ bankruptcy. Finally, the Court has diversity jurisdiction over the

 Quiet Title Petition.

                (i)      Bankruptcy Jurisdiction

         “[I]t is well settled that the jurisdiction of the bankruptcy courts to hear cases related to

 bankruptcy is limited initially by statute and eventually by Article III. For subject matter

 jurisdiction to exist there must be some nexus between the related civil proceeding and the Title

 11 case.” In re Lemco Gypsum, 910 F.2d at 787 (footnote omitted). Under Sections 1334(b) and

 157(a), the Court “may exercise ‘jurisdiction in three categories of civil proceedings: those that

 arise under title 11, those that arise in cases under title 11, and those related to cases under title

 11.’” Bridges v. Fay Servicing LLC (In re Bridges), Bankr. No. 17-67339, Adv. No. 17-05260,

 2018 WL 4292168, at *2 (Bankr. N.D. Ga. Sept. 7, 2018) (quoting Welt v. MJO Holding Corp. (In

 re Happy Hocker Pawn Shop, Inc.), 212 F. App’x 811, 816 (11th Cir. 2006)).

                         (1)    The Court Retained Jurisdiction

         First, in the confirmed Plan, the Court retained jurisdiction over “any matter arising out of,

 or in connection with, any agreement pursuant to which the Debtor sold any of its assets during

 the Bankruptcy Case.” Dkt. No. 71 at 18. Clearly, the Freeport Trustee’s Quiet Title Petition is a

 matter arising out of its agreement with the Greens to purchase the Property. Also, as discussed

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 above, because the effect of an administrative closing is decidedly less than that of a statutory

 closing under Section 350, the Greens’ bankruptcy case is still pending.3

                            (2)      The Quiet Title Petition Affects Property of the Estate

          Second, the Quiet Title Petition affects property of the estate. See 11 U.S.C. §§ 541, 1115

 (defining property of the estate). This makes it a core proceeding. See Wortley v. Bakst, 844 F.3d

 1313, 1318 (11th Cir. 2017) (“Core proceedings are narrow in scope, and include only those cases

 that implicate the property of the bankruptcy estate and either invoke substantive rights created by

 federal bankruptcy law or that exist exclusively in the bankruptcy context.”) The Greens’ Plan

 provided that:

          Except as otherwise explicitly provided in the Plan, on the Effective Date, all
          property comprising the Estate (including Retained Actions, but excluding property
          that has been abandoned pursuant to an order of the Bankruptcy Court) shall revest
          in Debtor as of the Filing Date, free and clear of all Claims, Liens, charges,
          encumbrances, rights and Interests of creditors, except as specifically provided in
          the Plan. As of the Effective Date, Debtor may operate its businesses and use,
          acquire, and dispose of property and settle and compromise Claims or Interests
          without supervision of the Bankruptcy Court, free of any restrictions of the
          Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly
          imposed by the Plan and Confirmation Order.

 Dkt. No. 71 at 15; see also 11 U.S.C. § 1141(b) (“Except as otherwise provided in the plan or the

 order confirming the plan, the confirmation of a plan vests all of the property of the estate in the

 debtor.”). Generally, the effect of property revesting in the debtor is that the estate ceases to exist.

 See Oliver v. Toth (In re Toth), 193 B.R. 992, 994-97 (Bankr. N.D. Ga. 1996) (analyzing various

 interpretations of “vest” as used in plans of reorganization and its effect at confirmation); 1st

 Franklin Fin. Corp. v. Baker (In re Baker), No. 14-71600-PMB, 2018 WL 4961656, at *3 n.5

 (Bankr. N.D. Ga. Oct. 12, 2018) (discussing In re Toth).



          3 In fact, another creditor has recently filed a motion for relief from stay related to certain property owned
 by the Greens. See Dkt. No. 121.


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         Here, the Greens’ Plan provides otherwise. See In re Baker, 2018 WL 4961656, at *4.

 Specifically, the Plan discusses BB&T’s liens on the Property and how they will continue. Dkt.

 No. 71 at 9 (“BB&T shall retain its second priority lien on the Ashford Circle Property, its first

 lien position on the Boyd Road Property and its first lien position on the White Street Property to

 the extent of the Secured Class 4 Claim.”). Further, the Plan modified the maturity date of the

 Greens’ loan with BB&T. Dkt. No. 71 at 9. (defining Class 4 Maturity Date). Therefore, the

 confirmed Plan provided that these interests would remain part of the Greens’ bankruptcy estate

 post-confirmation.

                         (3)     Related to Jurisdiction

         “An action is related to bankruptcy if the outcome could alter the debtor’s rights, liabilities,

 options, or freedom of action (either positively or negatively) and which in any way impacts upon

 the handling and administration of the bankrupt estate.” Wortley, 844 F.3d at 1318-19 (quoting In

 re Lemco Gypsum, 910 F.2d at 788). Further, “[t]he proceeding need not necessarily be against the

 debtor or the debtor’s property.” In re Lemco Gypsum, 910 F.2d at 788. A quiet title action under

 Georgia law is related to a bankruptcy case if it would deprive the estate of any interest in property.

 See German Am. Capital Corp. v. Oxley Dev. Co., LLC. (In re Oxley Dev. Co., LLC), 493 B.R.

 275, 286 (Bankr. N.D. Ga. 2013). Here, a finding by the superior court that the Freeport Trustee

 has title to the Property would confirm that the Greens no longer have any interest in the Property.

 However, as SummitBridge will show in its defense against the Quiet Title Petition, the transfer

 from the Greens to the Freeport Trustee was a fraudulent conveyance under Georgia law because

 the Property was transferred for no consideration. Therefore, the outcome of the Quiet Title

 Petition will have an effect on the Greens’ bankruptcy case, and this Court has related to

 jurisdiction over it.



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                 (ii)    Diversity Jurisdiction

         28 U.S.C. Section 1332(a)(1) provides that this Court has “original jurisdiction of all civil

 actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

 and costs, and is between . . . citizens of different States.” SummitBridge bears the burden of

 proving this Court’s jurisdiction. See Friedman v. N.Y. Life Ins. Co., 410 F.3d 1350, 1353 (11th

 Cir. 2005). “[D]iversity jurisdiction is determined at the time of filing the complaint or, if the case

 has been removed, at the time of removal.” PTA-FLA, Inc. v. ZTE USA, Inc., 844 F.3d 1299, 1306

 (11th Cir. 2016). The parties to the Quiet Title Petition are diverse, and the amount in controversy

 is satisfied.

                         (1)     Diversity of Citizenship

         Upon information and belief and based on the allegations in the Quiet Title Petition, the

 Freeport Trustee is a Georgia corporation with its principal office in Georgia. SummitBridge is a

 Delaware limited liability company with its principal office in New York. Upon information and

 belief, none of SummitBridge’s members are citizens of Georgia.

                         (2)     Amount in Controversy

         Courts examine whether the amount in controversy is satisfied at the time of removal.

 Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 751 (11th Cir. 2010). Further, “it is an axiom of

 federal civil judicial procedure that the plaintiff may aggregate all his or her claims against a single

 defendant for purposes of meeting the jurisdictional amount.” Poore v. American-Amicable Life

 Ins. Co. of Tex., 125 F. Supp. 2d 1378, 1386 n.7 (S.D. Ga. 2000). The Freeport Trustee did not

 request a sum certain in the Quiet Title Petition; however, it seeks injunctive relief to declare

 SummitBridge has no interest in the Property. Given the injunctive relief sought, The Quiet Title

 Petition satisfies the amount in controversy requirements of 28 U.S.C. § 1332.



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         In the case of injunctive relief, “the amount in controversy is the ‘monetary value of the

 object of the litigation from the plaintiff’s perspective.’” Conable v. U.S. Foodservice, Inc., No.

 1:05-CV-02887-MHS, 2006 WL 149052, at *4 (N.D. Ga. Jan. 18, 2006) (quoting Morrison v.

 Allstate Indemnity Co., 228 F.3d 1255, 1268 (11th Cir. 2000)); see also Crawford v. Am. Bankers

 Ins. Co. of Fla., 987 F. Supp. 1408, 1413 (M.D. Ala. 1997). Because the Freeport Trustee seeks

 title to the Property free and clear of SummitBridge’s interest, the fair market value of the real

 property at issue determines the amount in controversy. See, e.g., Occidental Chem. Corp. v.

 Bullard, 995 F.2d 1046, 1048 (11th Cir. 1993); Coffey v. Nationstar Mortg., LLC, 994 F. Supp. 2d

 1281, 1283 (S.D. Fla. 2014); McClain v. Bank of Am., No. 4:11-CV-305, 2013 WL 1399309, at

 *5 (S.D. Ga. April 5, 2013).

         Here, the confirmed Plan fixed the values of the three tracts of land that form the Property.

 According to the Plan: the Ashford Circle Property is valued at $180,000;4 the Boyd Road property

 is valued at $110,000; and the White Street property is valued at $35,000. Dkt. No. 71 at 8-9.

 Therefore, the amount in controversy in the Quiet Title Petition is $325,000, well in excess of

 $75,000. Accordingly, the Quiet Title Petition satisfies the amount in controversy requirements of

 28 U.S.C. § 1332. See, e.g., McClain, 2013 WL 1399309, at *5. The Court thus has original

 jurisdiction over this action pursuant to 28 U.S.C. § 1332, and SummitBridge may remove this

 action to this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446.

         B.       Jurisdiction over the Counterclaims

         Further, the Court has jurisdiction over SummitBridge’s counterclaims because they are

 core proceedings. See 28 U.S.C. § 157(b)(2)(A), (H), (L), (O). The Eleventh Circuit has adopted a



         4 According to the Plan, the value of the Ashford Circle property available to BB&T was approximately
 $5,000 because Bayview Loan Servicing, LLC held a first lien on the Ashford Circle property for the remainder of
 that property’s value. Dkt. No. 71 at 8-9.


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 two-step test created “to determine whether a claim is a core proceeding . . . : first determine if a

 proceeding addresses a substantive right created by Title 11, and second, if not, determine if the

 proceeding could only arise in a bankruptcy case.” First Bank of Dalton v. Manton Family P’Ship,

 LLLP (In re Manton), 585 B.R. 630, 640 (Bankr. N.D. Ga. 2018). A fraudulent transfer claim

 under Georgia law “is a core proceeding in bankruptcy because (1) fraudulent conveyance is

 specifically listed as a core proceeding under 28 U.S.C.S. § 157(b)(2), and (2) it invokes a

 substantive right created by § 544 of the Bankruptcy Code.” Id. at 641; see also Zazzali v. Swenson

 (In re DBSI, Inc.), 466 B.R. 664, 665-66 (Bankr. D. Del. 2012) (holding fraudulent transfer claims

 under Idaho law were core proceedings under 11 U.S.C. § 544 because of 28 U.S.C.

 § 157(b)(2)(H)). Also, a proceeding to enforce the provisions of a confirmed plan is a core

 proceeding. In re Losada, 557 B.R. 244, 252 (Bankr. S.D. Fla. 2016) (citing Travelers Indem. Co.

 v. Bailey, 557 U.S. 137, 146 (2009)); In re U.S. Brass Corp., 301 F.3d 296, 305 (5th Cir. 2002))

 (holding proceedings under 11 U.S.C. 1142(b), which authorizes bankruptcy court to enter any

 order necessary for plan consummation, that bankruptcy court had jurisdiction over proceeding

 that “will certainly impact compliance with or completion of the reorganization plan” even though

 plan had “been substantially consummated”).

     IV.        Conclusion

         SummitBridge removes the Quiet Title Petition to this Court because the dispute over the

 Property should be decided in bankruptcy court. When the Greens sought to avoid SummitBridge’s

 interest in the Property through a fraudulent transfer to the Freeport Trustee, they defaulted under

 the terms of the confirmed Plan. Therefore, this Court has both original bankruptcy jurisdiction

 and diversity jurisdiction over the Quiet Title Petition, and removal is proper. A true and correct

 copy of this Notice of Removal and Motion to Reopen will be filed with the Clerk of the Superior

 Court of Troup County, Georgia as required by 28 U.S.C. § 1446. Concurrent with the filing of

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 this Notice of Removal and Motion to Reopen, SummitBridge has served the Freeport Trustee

 with a copy of the Notice to Superior Court of Removal to Federal Court, which will be filed in

 the Superior Court of Troup County, Georgia. A copy of this Notice, without exhibits, is attached

 hereto as Exhibit C.

         Respectfully submitted this 28th day of October, 2019.

                                                     s/ Michael R. Wing
                                                     Michael R. Wing
                                                     Georgia Bar Number 770463
                                                     Austin B. Alexander
                                                     Georgia Bar Number 926059
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 28, 2019, a true and exact copy of SummitBridge National

 Investment V LLC’s Notice of Removal and Motion to Reopen was filed with the Court using the

 CM/ECF system and served upon Freeport Title & Guaranty, Inc. as Trustee for the Troup County

 Three Trust via First Class United States Mail at 5775 Glenridge Drive, Building B Suite 550,

 Atlanta, GA, 30328, USA care of its registered agent Mike Florence.



                                                     /s/ Austin B. Alexander
                                                     Austin B. Alexander
                                                     Georgia Bar Number 926059




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                                                                         JACKIE TAYLOR
                                                                        Clerk Superior Court, 1ROUP County, Ga.
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                               (Space above is for Recorder's use)

Prepared By:
Branch Banking and Trust Company
445 Dexter Avenue, Suite 8000
Montgomery, AL 36104

When Recorded Mail To:
 Return to:
 Document Recording Services
 P.O. Box 3008
 Tallahassee, FL 32315:3008
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                       ASSIGNMENT OF SECURITY INSTRUMENTS

       BRANCH BANKING AND TRUST COMPANY, a North Carolina banking comoration
("Assignor"), whose address is 445 Dexter Avenue, Suite 8000, Montgomery, AL 36104,
Attention: John E. Beasley, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, hereby assigns, transfers, sets over and conveys to
SUMMITBRIDGE NATIONAL INVESTMENTS V LLC ("Assignee") whose address is 1700
Lincoln Street, Suite 2150, Denver, CO 80203, all of Assignor's right, title and interest in and to
those Security Instruments described on Schedule "A", together with the real property therein
described as the same may have been assigned, amended, supplemented, restated or modified.

        TO HAVE AND TO HOLD the same unto Assignee and its successors and assigns
forever.

       This Assignment is made without recourse or representation or warranty, express, implied
or by operation of law, of any kind and nature whatsoever.

       Effective as of June ,951, 2016.
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                                        BRANCH BANKING AND TRUST COMPANY,
                                        a North Carolina banking corporation


                                        By
                                              John E. Beasley
                                         1 : Senior Vice Presi ent                    IV&
                                                                                      4o4*AI


Signed, sp&led and delivered                                         (Affi
this 077/1&day of June, 2016
in the presence of:

Ctiund---e,J &Oa>
Unofficial Witness ANAl1iate4ifer-)

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Notary Public

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                                    SCHEDULE "A"
                             Assignment of Security Instruments

Georgia Security Deed and Security Agreement dated February 16, 2007 granted by Kenneth
Green and Cynthia Green in favor of Branch Banking and Trust Company and recorded on
February 21, 2007 in Book 1393 at Page 706 in the Office of the Clerk of Superior Court of
Troup County, Georgia.

Modification Agreement to Georgia Security Deed and Security Agreement dated April 27, 2011
granted by Cynthia Green in favor of Branch Banking and Trust Company and recorded on May.
5, 2011 in Book 1610 at Page 716 in the Office of the Clerk of Superior Court of Troup County,
Georgia.
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                                                                                                                                  CLERK OF SUPERIOR COURT
        General Civil and Domestic Relations Case Filing Information Form                                                          TROUP COUNTY, GEORGIA
                                                                                                                                    19-CV-0535
                                                                                                                                  DUSTIN W. HIGHTOWER
        ☐ Superior or ☐ State Court of ______________________________
                                              Troup                   County                                                       SEP 17, 2019 05:21 PM

        For Clerk Use Only

        Date Filed _________________________
                        09-17-2019                              Case Number _________________________
                                                                              19-CV-0535
                        MM-DD-YYYY

Plaintiff(s)                                                                    Defendant(s)
__________________________________________________
Freeport  Title & Guaranty, Inc. as Trustee                                     __________________________________________________
                                                                                Summitbridge National Investments V, LLC
Last              First                  Middle I.     Suffix      Prefix         Last                  First         Middle I.     Suffix   Prefix
__________________________________________________                              __________________________________________________
Last              First                  Middle I.     Suffix      Prefix         Last                  First         Middle I.     Suffix   Prefix
__________________________________________________                              __________________________________________________
Last              First                  Middle I.     Suffix      Prefix         Last                  First         Middle I.     Suffix   Prefix
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Last              First                  Middle I.     Suffix      Prefix         Last                  First         Middle I.     Suffix   Prefix

Plaintiff’s Attorney _______________________________________
                         Clark, John                                              Bar Number __________________
                                                                                                    127347                Self-Represented ☐

                                                         Check One Case Type in One Box

        General Civil Cases                                                              Domestic Relations Cases
        ☐           Medical Malpractice Tort                                             ☐            Dissolution/Divorce/Separate
        ☐           Product Liability Tort                                                            Maintenance
        ☐           Automobile Tort                                                      ☐            Paternity/Legitimation
        ☐           General Tort                                                         ☐            Support – IV-D
        ☐           Contract                                                             ☐            Support – Private (non-IV-D)
        ☐           Real Property                                                        ☐            Adoption
        ☐           Civil Appeal                                                         ☐            Family Violence Petition
        ☐           Habeas Corpus                                                        ☐            Other Domestic Relations
        ☐           Restraining Petition
        ☐           Injunction/Mandamus/Other Writ                                       Post-Judgement – Check One Case Type
        ☐           Garnishment                                                          ☐          Contempt
        ☐           Landlord/Tenant                                                           ☐      Non-payment of child support,
        ☐           Other General Civil                                                              medical support, or alimony.
                                                                                         ☐          Modification
                                                                                         ☐          Administrative/Other

☐       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        the same parties, subject matter, or factual issues. If so, provide a case number for each.
        ____________________________________________             ____________________________________________
                     Case Number                                               Case Number

☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in O.C.G.A. §9-11-7.1.

☐       Is interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                   Language(s) Needed

☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
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                             SUPERIOR COURT OF TROUP COUNTY
                                    STATE OF GEORGIA




                                  CIVIL ACTION NUMBER 19-CV-0535
1
               Freeport Title & Guaranty, Inc. as Trustee

               PLAINTIFF
                                                       VS.
               Summitbridge National Investments V, LLC

               DEFENDANT                                                     Summitbridge National Investments V, LLC
                                                                          c/o'The Corporation Trust Company, Registered !
                                                                                              Agent                     !
                                          SUMMONS                                      1209 Orange Street
                                                                        <             Wilmington, DE 19801
               TO THE ABOVE NAMED DEFENDANT:
                                                                                                                          J
                                                                                                                 ro
               You are hereby summoned and required to file with the Clerk of said court and serve upon the              ■' i "jl
               Plaintiffs attorney, whose name and address is:                                                            -u~>
                                          John Clark                                                             CO      o-~
                                                                                                                 ro         m
                                          Clark Law Group, LLC                                                   -xi
                                                                                                                        . -ji'jr.
                                          17 Executive Park Drive                                                ro       —• ~n
                                          Suite 480                                                              cri         -n
                                                                                                                          i ■?;
                                          Atlanta, Georgia 30329                                                                  CO
                                                                                                                  -X3
               an answer to the complaint which is herewith served upon you, within 30 days after service of                      "C
               this summons upon you, exclusive of the day of service. If you fail to do so, judgment by          ro          " -JTjl
               default will be taken against you for the relief demanded in the complaint.
                                                                                                                  <p.
                                                                                                                  crv
                                                                                                                                  (./■>




               This 17th day of September, 2019.                                                                                  %
                                                               Clerk of Superior Court




                                                            H/juI 'aJ.Jackie Taylocotlerk
                                                                             Troup County, Georgia




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                       IN THE SUPERIOR COURT OF TROUP COUNTY                           DUSTIN W. HIGHTOWER
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                                  STATE OF GEORGIA
                                                                                        it* A * ) WJ.
  FREEPORT TITLE & GUARANTY, INC. as                   )                                            Jackie Tayfoo/tlerfc
                                                                                                    Troup County. Georgia

  TRUSTEE OF THE TROUP COUNTY THREE                    )
  TRUST,                                               )
                                                       )
         Petitioner,                                   )        CIVIL ACTION FILE
                                                       )        NO.
  v.                                                   )
                                                       )                                      c?>

  SUMMITBRIDGE NATIONAL INVESTMENTS )
  V, LLC,                           )
                                                       )                                        N>          ,-"n            ,*•
                                                                                                on           :-n c. r>
         Respondent.                                   )
                                                                                                    'O         r- -r

                           VERIFIED PETITION TO QUIET TITLE

         NOW COMES Freeport Title & Guaranty, Inc., as Trustee of the Troup County Thre(T

  Trust (hereinafter “Petitioner”) and show the Court as follows:

          1.    This is a quiet title action pursuant to O.C.G.A. § 23-3-40, et seq.

         2.      The land which is involved in this proceeding consists of three parcels of land

  located in Troup County, Georgia, which are more particularly described at Exhibit "A" attached

  hereto and by this reference made a part hereof (hereinafter collectively referred to as the

  "Property"). Jurisdiction and venue are proper in this Court.

          3.     Petitioner is the owner and in possession of the Property pursuant to that certain

  deed made by Kenneth L. Green and Cynthia R. Green (collectively the “Greens”) dated August

   16,2019 (the "Deed"). A true and correct copy of the Deed is attached hereto as Exhibit "B".

         4.      The Greens conveyed title to the Property to Branch Banking and Trust Company

  (“BBT”) via a Georgia Security Deed and Security Agreement dated February 16,2007 recorded

  in Deed Book 1393, Page 706, Troup County, Records (the “Security Deed”). A true and correct

  copy of the Security Deed is attached hereto as Exhibit “C”
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        5.        The Security Deed as a stated final payment of the debt secured thereby as

 February 19, 2012.

        6.        The Security Deed was modified by that certain “Modification Agreement to

 Georgia Security Deed and Security Agreement” dated April 27, 2011, and recorded in Deed

 Book 1610, Page 716, Troup County, Georgia Records (the “Modification”). The Modification

 established a “new maturity date of April 27, 2012” of the promissory note secured by the

 Security Deed. A true and correct copy of the Modification is attached hereto as Exhibit “D”.

        7.        Other than the Modification, no other evidence of any modifications, extensions

 or renewals to the debt secured by the Security Deed are recorded in the Troup County real estate

 records.

        8.        On June 28, 2016, BBT assigned the Security Deed to Respondent Summitbridge

 National Investments V, LLC (“Summitbridge”) by Assignment of Security Instruments (the

 “Assignment”), recorded in Deed Book 1838, Page 338, Troup County, Georgia Records A true

 and correct copy of the Assignment is attached hereto as Exhibit “E”.

            10.   Despite having no current interest in the Property due to the reversion of the

 Secuirty Deed, Summitbridge is now seeking to exercise the power of sale contained in the

 Security Deed in violation of O.C.G.A. § 48-14-81. A true and correct copy of the advertisement

 of the foreclosure sale that Summitbridge is running for an October 1, 2019 sale date is attached

 hereto as Exhibit “F”.

            11.   The Security Deed, as Modified and Assigned is a cloud on the title to Petitioner’s

 Property (the “Adverse Claim”).        Petitioner cannot immediately or effectually maintain or

 protect its rights to the Property by any other course of proceeding other than by the filing of this

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 action. Petitioner seeks by this action to cancel the Adverse Claim, as such operates to throw a

 cloud of suspicion upon Petitioner’s title to the Property and might be vexatiously or injuriously

 used against Petitioner.

        12.     Contemporaneously with the filing of this petition, Petitioner has filed with the

 Clerk of Superior Court of Troup County, Georgia a notice for record in the lis pendens docket.

        13.     Petitioner is entitled to a decree from this Court establishing that Petitioner is the

 owner in fee simple to the Land, free and clear of all the Adverse Claims.

        WHEREFORE, Petitioner respectfully requests the following relief:

        a)      That the Court decree that Petitioner is vested with fee simple title to the Land,

 free and clear of all Adverse Claims,

        b)      That a special master be appointed pursuant to O.C.G.A. § 23-3-43 and;

        c)      That Petitioner has such other and further relief as is just and equitable.

        This 16th day of September, 2019.


                                                       /s/ John C. Clark
 Clark Law Group, LLC                                  John C. Clark
 17 Executive Park Drive, Ste. 480                     Georgia Bar No. 127347
 Atlanta, Georgia 30329                                Tahra T. Porterfield
 (404) 760-0070                                        Georgia Bar No. 721162
 (404) 920-8126 (fax)                                  Attorneys for Petitioner




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                                          EXHIBIT “A”



     TRACT ONE:
     415 Ashford Circle, LaGrange, GA

     All that lot, tract or parcel of land situate lying and being in Land Lots 18 and 19 of
     the 6th Land District, Troup County, Georgia, being all of Lot 11 of Ashford Place
     Subdivision as shown on that plat of said subdivision recorded in Plat Book 20B,
     Page 112, Troup County, Georgia, records and more particularly shown and
     described on that certain plat of survey prepared by Henry H. Jackson, Georgia
     Registered Land Surveyor No. 2274, dated June 6, 1990, recorded in Plat Book 33,
     Page 168, aforesaid records, which plats are by reference incorporated herein and
     made a part hereof for the purpose of a more complete and accurate description.

     The above-described property is subject to the Covenant and Restrictions for Ashford
     Place Subdivision recorded at Deed Book 457, Page 753, Troup County, Georgia
     deed records, as amended.


     TRACT TWO:
 517 Boyd Road, Hogansville, GA

     All those lots, tracts, or parcels of land with all buildings and improvements thereon,
     situate, lying and being in Land Lot 128 of the T 2th Land District, Troup County,
     Georgia, and being Lots Three (3), and Four (4), Block AB@ as per plat of the Oak
     Spring Subdivision of the J. R. Cooper Estate made by R. M. Ross, C.E., dated April
     1941 and recorded in Plat Book 3, Page 2 in the Office of the Clerk of the Superior
     Court of said Troup County, Georgia.



     TRACT THREE:
     210 White Street, Hogansville, GA

     All that tract or parcel of land with all buildings and improvements thereon, situated
     in or near the City of Hogansville, County of Troup and State of Georgia, shown on
     First Supplement to Village Property Map for United States Rubber Company, Stark
     and Reid Mills, Survey and Plat by Clarence J. White, Jr., dated May 6,1955, as Lot
     No. 10 in Block 22, said plat being recorded in the Office of the Superior Court of
     Troup County, Georgia, in Plat Book 2, Pages 369 and 370.
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                                                                       Troup County, GA
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                                      QUITCLAIM DEED

          THIS INDENTURE is made this 16th day of August 2019, by and between
    KENNETH L. GREEN and CYNTHIA R. GREEN (hereinafter collectively referred to as
    “Grantor”) and FREEPORT TITLE & GUARANTY, INC. as TRUSTEE OF THE
    TROUP COUNTY THREE TRUST (hereinafter referred to as “Grantee”).

                                         WITNESSETH

            FOR AND IN CONSIDERATION of the sum of Ten Dollars 00/100 cents
    ($10.00) and other good and valuable consideration, the receipt and sufficiency of which
    is hereby acknowledged. Grantor hereby remises, releases, and forever quit claims to
    Grantee, and Grantee’s successors and assigns, all the right, title, interest, claim or
    demand which Grantor has or may have had in and to all that tract of parcel of land more
    fully described at Exhibit “A” attached hereto and incorporated herein by reference
    (hereinafter the “Premises”).
            TO HAVE AND TO HOLD the said described Premises, unto Grantee, and
    Grantee’s successors and assigns, so that neither Grantor nor any other person or persons
    claiming under Grantor, shall at any time claim or demand any right, title, or interest to
    the aforesaid described Premises or its appurtenances.
            IN WITNESS, Grantor has executed this document under seal, on the day and
    year first above written.



    As to Grantors, signed,                      GRANTORS:
    sealed and delivered
    in the presence of:

    <k6c\<v\ ixjdnsr\                                                       AXYfSEAL]
    Unofficial Witness:                           IENNETH L. GREEN

                                                                                   .[SEAL]
                                                 CYNTHIA R. GREEN

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                                                            Exhibit “A”


                         TRACT ONE:
                         415 Ashford Circle, LaGrange, GA

                         All that lot, tract or parcel of land situate lying and being in Land Lots 18 and 19 of
                         the 6th Land District, Troup County, Georgia, being all of Lot 11 of Ashford Place
                         Subdivision as shown on that plat of said subdivision recorded in Plat Book 20B,
                         Page 112, Troup County, Georgia, records and more particularly shown and
                         described on that certain plat of survey prepared by Henry H. Jackson, Georgia
                         Registered Land Surveyor No. 2274, dated June 6, 1990, recorded in Plat Book 33,
                         Page 168, aforesaid records, which plats are by reference incorporated herein and
                         made a part hereof for the purpose of a more complete and accurate description.

                         The above-described property is subject to the Covenant and Restrictions for Ashford
                         Place Subdivision recorded at Deed Book 457, Page 753, Troup County, Georgia
                         deed records, as amended.
                                                                                 W



                         TRACT TWO:
                     517 Boyd Road, Hogansville, GA

                         All those lots, tracts, or parcels of land with all buildings and improvements thereon,
                         situate, lying and being in Land Lot 128 of the 12u’ Land District, Troup County,
                         Georgia, and being Lots Three (3), and Four (4), Block aB@ as per plat of the Oak
                         Spring Subdivision of the J. R. Cooper Estate made by R. M. Ross, C.E., dated April
                         194] and recorded in Plat Book 3, Page 2 in the Office of the Clerk of the Superior
                         Court of said Troup County, Georgia.



                         TRACT THREE:
                         210 White Street, Hogansville, GA

                         All that tract or parcel of land with all buildings and improvements thereon, situated
                         in or near the City of Hogansville, County of Troup and State of Georgiy, shown on '
                         First Supplement to Village Property Map for United States Rubber Corhpany, Stark
                         and Reid Mills, Survey and Plat by Clarence J. White, Jr., dated May 6,1955, as Lot
                         No. 10 in Block 22, said plat being recorded in the Office of the Superior Court of
                         Troup County, Georgia, in Plat Book 2, Pages 369 and 370. • . -



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                                       EXHIBIT “C”
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                 Attorney at Law
                 313 Greenville Strert
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                 LaGrange, GA 30241                                                             GEORGIA INTANGIBLE TAX Paid
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      95408
                                    SECURITY DEED AND SECURITY AGREEMENT
                                                  (Collateral is or Includes Fixtures)

        THIS SECURITY DEED AND SECURITY AGREEMENT ("Security Deed") is made as of this                          16th                 r-o
                                                                                                                                     C3         .:z
        day of     February, 2007      by and between:                                                                                          ■- LP
                                                                                                                                     CO
                GRANTOR (Include Address)                              GRANTEE                                                       prt          rn
                                                                                                                                      -x>       >-
         KENNETH GREEN anil CYNTHIA GREEN
                                                                       BRANCH BANKING AND TRUST COMPANY,                                        ,;>5
                                                                       a North Carolina state banking corporation                     PO           -n
                                                                                                                                      c_n
                                                                       295 BULLSBORO DR
         4IS ASHFORD CIRCLE                                                                                                            -a          <.r
                                                                        NEWNAN, GA 30263-1019
         LAGRANGE. GA 30240-0000
                                                                                                                                                    x.
        jointly and severally.                                                                                                         ro           Xi.
        □ IF BOX CHECKED. THIS SECURITY DEED SECURES AN OBLIGATION INCURRED FOR THE                                                    CO               n
                                                                                                                                           CO
          CONSTRUCTION OF AN IMPROVEMENT ON LAND.

        THE FOLLOWING INFORMATION APPLIES TO THIS SECURITY DEED:
           1. The original principal amount of the Debt (defined below), secured by this Security Deed is
        THREE HUNDRED TWENTY THOUSAND EIGHT HUNDRED THIRTY-ONE DOLLARS & 27/100
        ($.      320,831.27     ) Dollars, plus any present and future advances.

            2. The Debt, on the date hereof, is evidenced by a Note and/or other Document described by name, parties,
        dollar amount, and date as follows: Promissory Note dated  02/16/2007    in the amount of $   320,831.27
        executed by KENNETH GREEN and CYNTHIA GREEN


        (the "Borrower” if not the Grantor) jointly and severally, and may be evidenced by and shall be at all times deemed to
        include, any and all other notes or other documents now or hereafter evidencing any debt whatsoever incurred by
        Grantor, or any of them, and payable to Grantee, the terms of which are incorporated herein by reference.
            3. Pursuant to the provisions of O.C.G.A. § 44-14-1, et sea., this Security Deed secures the payfhent of the Debt,
        including present and future advances.
           4. The current principal amount of the Debt advanced on the date hereof (including any outstanding amounts
        advanced previously) by Grantee is $______ 320,831.27________ (if none, so state), having a maturity date of
        02/19/2012
            5. Any future advances shall be evidenced by a promissory note or modification agreement and shall be secured
        by this Security Deed.
            6. The real property which is the subject of this Security Deed is located in or near the City of
        l.AGRANGF.                            , in the County of      TROUP              , in the State of Georgia,
        and the legal description is set forth as follows:

                              See Exhibit "A" attached hereto and incorporated herein by this reference.
        Intangible Tax
        Note to Clerk: Intangible tax due in the amount of $ 963.nn                 , inasmuch as maturity date is beyond
        three (3) years-long term note   on               or

        Note to Clerk: No intangible tax due, maturity date less than three (3) years - short term note




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     STATEMENT OF PURPOSE: In this Security Deed reference shall be made simply to the "Note or other Document", and such a reference
is deemed to apply to all of the instruments which evidence or describe the Debt, or which secure its payment, and to all renewals, extensions and
modifications thereof, whether heretofore or hereafter executed, and includes without limitation_all writings described generally and specifically
on the first page of this Security Deed in numbered paragraph 2 above. This Security Deed shall secure the performance of all obligations of
Grantor and Borrower to Grantee which are described in this Security Deed, in the Note or other Document, and such performance includes the
payment of the Debt. In this Security Deed the definition of "Debt" includes: (i) the principal; (ii) all accrued interest including possible
fluctuations of the interest rate if so provided in the Note or other Document; (iii) all renewals, modification, additional advances, or extension of
any obligation under the Note or other Document (even if such renewals, modifications, additional advances, or extensions are evidenced by new
notes or other documents); and (iv) all other obligations of Grantor to Grantee which are described in this Security Deed,?©f fhthfe'Note or other
Document, (for example, payment of the attorneys fees of the Grantee, insurance premiums, ad valorem,©x,eb,fwwir<>nrp<yual^reports and
appraisals); and (v) any and all other indebtedness, whether direct or indirect, owing or to be owed by Graptor or ,$orrQwer, or any of
them, to Grantee, including without limitation any advances made to pay drawings on any irrevocable standby or commercial letter of
credit Issued on the account of the Grantor or Borrower pursuant to an application therefor.                                         \
      NOW THEREFORE, for the purposes and under the conditions described in the Security Deed and in consideration of thfc l>ebt and the
mutual promises of Grantor and Grantee, and other good and valuable consideration the receipt liftpwwficie*qy of whicty are hereby
acknowledged, Grantor hereby conveys to Grantee, with power of sale, the real property described in the Security Deed, together with any
improvements, equipment and fixtures existing or hereafter placed on or attached to this real property. All proceeds thereof and all other
appurtenant rights and privileges. The term "the Property" shall include this real property any such improvements, fixtures, and also appurtenant
rights and privileges.
     This Security Deed is intended to constitute a security agreement as required under the Uniform Commercial Code of the State of Georgia
and in farther intended to operate and be construed as a deed passing title to the property to Grantee under the provisions of the laws of the State
of Georgia relating to deeds to secure debt and not as a mortgage including without limitation Chapter 44-14 of the Official Code of Georgia
Annotated and those items on Exhibit B attached hereto and incorporated herein by this reference, if applicable.
    TO HAVE AND TO HOLD the Property, to Grantee, its successors and assigns, and under the terms and conditions of this Security Deed,
to which Grantor and Grantee hereby agree:
    1. PERFORMANCE BY GRANTOR. Grantor shall fulfill all of Grantor’s obligations set forth in this Security Deed, the Note or other
Document.
     2. TAXES, DEEDS OR TRUST, OTHER ENCUMBRANCES, Grantor shall make timely payment of all ad valorem taxes, assessments
or other charges or encumbrances which may constitute a lien upon the Property. Grantor shall timely pay and perform any obligation, covenant
or warranty contained in any other Security Deed or writing (herein Other Security Deed) which gives rise to any or which may constitute a lien
upon any of the Property. Grantor shall upon request of Grantee promptly furnish satisfactory evidence of such payment or performance. Grantor
shall not enter into, terminate, cancel or amend any lease affecting the Property or any part thereof without the prior written consent of Grantee.
Grantor shall timely pay and perform all terms of any leases or sublease of the Property or any part thereof.
     3. INSURANCE. Grantor shall keep insured all improvements which are now existing and which might hereafter become part of the
Property, against loss by fire and other hazards, casualties and contingencies in such amounts and for such periods as may be required from time
to time by Grantee, and Grantor shall pay promptly, when due, any premiums on the insurance. All insurance shall be carried with companies
approved by Grantee, and Grantor shall cause all policies and renewals thereof to be delivered to Grantee, and the policies shall contain loss
payable clauses in favor of and in form acceptable to Grantee, the policies to further contain mortgagee clauses in favor of and in form acceptable
to Grantee and shall include a "New York" mortgagee clause. In the event of loss, Grantor shall give immediate notice to Grantee, and Grantee
may make proof of loss if such is not made promptly be Grantor. Any insurer is hereby expressly authorized and directed to make payment for
the loss directly and solely to Grantee. Further Grantee may apply the insurance proceeds, or any part thereof, in tis sole discretion and at its
option, either to the reduction of the Debt or to the restoration or repair of any portions of the Property damaged,
     4. ESCROW DEPOSITS. Upon demand of Grantee, Grantor shall deposit with or add to each payment required under the Note or other
Document the amount estimated by Grantee to be sufficient to enable Grantee to pay as they become due all taxes, charges, assessments, and
insurance premiums which Grantor is required to pay. Further, any deficiency occasioned by an insufficiency of such additional payments shall
be deposited hy Grantor with Grantee upon demand.
      5. PRESERVATION AND MAINTENANCE OF THE PROPERTY. Grantor shall keep the Property in good order and repair as it now
is (reasonable wear and tear excepted) and shall neither commit nor permit any waste or any other occurrence of use which might impair the
value of the Property. Grantor shall not initiate or acquiesce in a change in the zoning classification of the Property or make or permit any
structural alteration thereof without Grantee’s prior written consent.
     6. COMPLIANCE WITH LAWS. Grantor shall regularly and promptly comply with any applicable legal requirements of the United
States, the State of Georgia or other governmental entity, agency or instrumentality relating to the use or condition of the Property.
     7. CONDEMNATION AWARD. Any award for the taking of, or damages to , all or any part of the Property or any interest therein upon
the lawful exercise of the power of eminent domain shall be payable solely to Grantee, which may apply the sums so received payment of the
Debt.
     8. PAYMENT BY GRANTEE, If Grantor or Borrower shall be in default in the timely payment or performance of any of Grantor’s or
Borrower’s obligations, the Note or other document, under this Security Deed or Other Security Deed, Grantee may, but it is not obligate to,
expend for the account of Grantor any sums, expenses and fees which Grantee believes appropriate for the protection of the Property and the
maintenance and execution of this trust. Any amounts so expended shall be deemed principal advances fully secured by this Security Deed, shall
bear interest from the time expended until paid at the rate of interest accruing on the debt, and shall be due and payable on demand.
     9. RENTS AND PROFITS. Grantor hereby assigns to Grantee all future rents and profits from the Property as additional security for the
payment of die Debt and for the performance of all obligations secured by this Security Deed. Grantor hereby appoints Grantee as Grantor’s
attorney-in-fact, which is coupled with an interest and is irrevocable to collect any rents and profits, with or without suit, and to apply the same,
less expenses of collection, to the Debt or to any obligations secured by this Security Deed in any manner as Grantee may desire. Such
appointment shall be a power coupled with an interest and shall remain in full force and effect as long as any portion of the Debt remains
outstanding. However, until default under the Note or other Document or under this Security Deed, Grantor may continue to collect and retain the
rents and profits without any accountability to Grantee. Grantee's election to pursue the collection of the rents or profits shall be in addition to all
other remedies which Grantee might have and may be put into effect independently of or concurrently with any other remedy.
     10. GRANTOR’S CONTINUING OBLIGATION. This Security Deed shall remain as security for lull payment of the Debt and for
performance of any obligation evidenced by the Note or other Document, notwithstanding any of the following: (a) the sale or release of all or
any art of the Property; (b) the assumption by another partg of Grantoris obligations under rtiis Security Deed.^he Note^OMjther Document;^)
Document, whether granted to Grantor or to a subsequent owner of the Property; (d) tfie release of any party who ha^s assumed payment of the
Debt or who assumed any other obligations under this Security Deed, the Note or other Document. None of the foregoing shall, in any way,
affect the full force and effect of the lien of this Security Deed or impair Grantee’s right to a deficiency judgement in the event or foreclosure
against Grantor or any party who has assumed payment of the Debt or who assumed any other obligations the performance of which is secured by
this Security Deed. Grantee may, in its sole discretion, from time to time waive or forebear from enforcing any provision of this Security Deed,
and no suen waiver or forbearance shall be deemed a waiver by Grantee of any right or remedy provided herein or by law or he deemed a waiver
of the right at any later time to enforce strictly all provisions of this Security Deed and to execute any and all remedies provided herein and by
law.
      11. SECURITY INTEREST. All the fixtures and equipment which comprise a part of the Property shall, as far as permitted by law, be
deemed to be affixed to the aforesaid land and conveyed therewith. As to the balance of the fixtures, this Security Deed shall be considered to be
a security agreement which creates a security interest in such fixtures for the benefit of Grantee. In that regard, Grantor grants to Grantee all of
the lights and remedies of a secured party under the Georgia Uniform Commercial Code. Grantor agrees to execute and deliver to Grantee,
concurrently with the execution of this Security Deed and upon the request of Grantee from time to time hereafter, all financing statements and
other documents reasonably required to perfect and maintain (he security interest created hereby. Grantor hereby irrevocably (aslong as the Debt
remains unpaid) makes, constitutes and appoints Grantee as the true and lawful attorney of Borrower, which power is coupled with an interest and
        -v-able, to sign the name of Grantor on any financing statement, continuation of financing statement or similar document required to perfect
is irrevoca
or com'inue such security interests. However, to the extent allowed by law, this Security Deed shall be a financing statement sufficient to perfect
and mailintain any security interest created hereby in the Property and its Proceeds. In addition, Grantor agrees to execute a UCC-2 Notice of



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     Fixture Filing and to cause same to be filed in the real estate records of the county in which the real property is located in additionally evidence
      hal^bes^ff11^51 Bra?le^ ** ta°              "*^ures‘ Any reproduction of this instrument or of a^ny other security agreement or financing statement
     Grantor contained in this Instrument, including tSc covenant STpay'whenfdue^ll^sunis secured°by tlS^ns^men'0^rariltte>shSietave,lthe
    remedies of a Secured Party under the Uniform Commercial Code of Georgia. In exercising any of said remedies. Grantee may proceed against
    the items of real property and any items of personal property specified above as part of the Property separately or together and in any order
    whatsoever, without in any way affecting the availability of Grantee's remedies under the Uniform Commercial Code as promulgated by tne State
    of Georgia or the other remedies set forth in paragraph 18 of this Instrument. Grantor and Grantee agree that the filing of any such financing
    statement or statements in the records normally having to do with personal property shall not in any way affect the agreement of Grantor and
    Grantee that everything used in connection with the production of income from the Property or adapted for use therein which is described or
    reflected in this Security Deed, is, and at all times and for all purposes and in all proceedings, both legal or equitable, shall be regarded as part of
    tne real estate conveyed hereby regardless of whether (i) any sucn item is physical attached to the improvements; (ii) serial numbers are used for
    the better identification of certain items capable of being thus identified in an exhibit lo this Security Deed; or (iii) any such item is referred to
    reflected in any such financing statement or statements so filed at any time. Similarly, the mention in any such financing statement or statements
    of the rights in and to (i) the proceeds of any fire and/or hazard insurance policy, or (ii) any award in eminent domain proceedings fora taking or
    for lessor value, or (in) Grantee s interest as lessor in any present of future lease or rights to income growing out of the use and/or occupancy
    of the Property, whether pursuant to lease or otherwise, snail not in any way alter any of the rights of Grantee as determined by this Security
    Deed or affect the priority of Grantee’s security interest and granted hereby or by any other recorded document, it being understood and agreed
    that such mention in such financing statement or statements is solely for the protection of Grantee in the event any court shall at any time hold
    with respect to the foregoing clause (i), (il) or (iii) of this sentence, that notice of Grantee's priority of interest, to be effective against a particular
    class ot persons, must be filed in the appropriate Uniform Commercial Code records. Grantor warrants that the location of collateral is or will be
    upon the Property (excepting materials intended to be located thereon and stored temporarily off site). Grantor covenants and agrees with grantee
    that Grantor will promptly execute any financing statements or other instruments deemed necessary by Grantee to prevent any filed financing
    statement from becoming misleading or losing its priority status.

         12. INDEMNIFICATION IN EVENT OF ADVERSE CLAIM. In the event that Grantee voluntarily or otherwise shall become a party to
    any suit or legal proceeding involving the Property, it shall be saved harmless and shall be reimbursed by Grantor for any amounts paid,
    including all costs, charges and reasonable attorney’s fees incurred in any such suit or proceeding, and the same shall be secured by this Security
    Deed and payable upon demand.
         13. INSPECTION. Grantee may at any reasonable time and from time to time make or cause to be made reasonable entries upon and
    inspections of the Property.

         14. WARRANTIES. Grantor covenants with Grantee that Grantor is seized of the Property in fee simple, has the right to convey the same
    in fee simple, that title to the Property is marketable and free and clear of all encumbrances, and that Grantor will warrant and defend the title
    against the lawful claims of all persons whomsoever, subject only to any declarations, easements, restriction or encumbrances listed in the title
    option or title insurance policy which Grantee obtained in the transaction in which Grantee obtained this Security Deed.
         15. ATTORNEYS' FEES. In the event that Grantor or Borrower shall default in its obligations under this Security Deed, the Note or other
    Document, and Grantee employs and attorney to assist in the collection of the Debt or to enforce compliance of Grantor with any of the
    provisions of this Security Deed, the Note or other Documents or in the event Grantor, Borrower or Grantee shall become parties to any suit or
    legal proceeding (including any proceeding conducted before any United States Bankruptcy Court) concerning the Property, concerning the lien
    of this Security Deed, concerning collection of the Debt or concerning compliance by Grantor with any of the provisions of this Security Deed,
    the Note or other Document, Grantor shall pay Grantee's reasonable attorneys' fees and all of the costs that may be incurred, and such fees and
    costs shall be secured by this Security Deed and its payment enforced as if it were a part of the Debt. Grantor shall be liable for such attorneys’
    fees and costs whether or not any suit or proceeding is commenced.
          16. ANTI-MARSHALLING PROVISIONS. Grantee may grant release at any lime and from time to time of all or any portion of the
    Properly (whether or not such releases are required by agreement among the parties) agreeable to Grantee without notice or the consent,
    approval or agreement of other Parties and interests, including junior lienors and Purchasers subject to the lien of this Security Deed and such
    releases shall not impair any manner of the validity of or priority of this Security Deed on that portion of the Property remaining subject to this
    Security Deed, nor release Grantor from personal liability for the Debt. Notwithstanding the existence of any other security interests in the
    Property held by Grantee or by any other party. Grantee shall have the right to determine the order in which any or aJI portions of the Debt are
    satisfied from the proceeds realized upon the exercise of any remedy it has. Grantor, or any party who consents to this, or any party who has
    actual or constructive notice hereof, herby waives any and all rights to require the marshalling of assets in connection with the exercise of any of
    the remedies permitted by applicable law or provided herein.
           17. EVENTS OF DEFAULT. Grantor shall be in default under this Security Deed upon the occurrence of any of the following:
             (a) Default in the payment or performance of any of the Debt, or of any covenant or warranty, in this Security Deed, in the Note or
             other Document, or in any other note of Grantor or Borrower to Grantee or any contract between Grantor or Borrower and Grantee, or
             in any other contract between Borrower and Grantee made for the benefit of Grantor;
             (b) Any warranty, representation or statement made or furnished to Grantee by or on behalf of Grantor or Borrower in connection with
             this transaction proving to have been false in any material respect when made or furnished; or
             (c) Loss, theft, substantial damage, destruction to or of the Property, or the assertion or making of any levy, seizure, mechanic’s or
             materialman’s lien or attachment thereof or thereon; or
             (d) Death, dissolution, termination of existence, insolvency, business failure, appointment of a Receiver for any part of the property
             of, assignment for the benefit of creditors by, or the inability to pay debts in the ordinary course of business of the Grantor or
             Borrower or any co-maker, endorser, guarantor or surety therefor; or
             (e) Failure of a Grantor or Borrower or any co-maker, endorser, guarantor or surety for Grantor to maintain its existence as a
             corporation, partnership or limited partnership, or limited liability company, as applicable, in good standing; or
             (f) Upon the entry of any monetary judgement or the assessment of filing of any tax lien against Grantor or Borrower; or upon the
             issuance of any writ of garnishment or attachment against any property of debts due or rights of Grantor or Borrower; or
             (g) The sale (including sale by land contract upon delivery of possession), transfer or encumbrance of all or any part of the Property or
             any interest therein, or any charge in the ownership or control.of .hn'y .Gfantpr or Borrower which is a corporation, partnership, or
             limited partnership, or limited liability company, without Graptde'Y pHoTVrtflqn consent; or
             (h) If Grantee should otherwise in good faith deem itself,^t^satfurity interests* the Property or the Debt unsafe or insecure; or should
             Grantee otherwise believe in good faith that the prospect dfpaynenRJfbt^efcpeiVorm^nce is impaired.
                                                                           i I                      l-5
         18. REMEDIES OF GRANTEE UPON DEFAULT. Upoii GrMftigqr Bbtfowef’s tfeach of any covenant in this Instrument or any
    other document, including, but not limited to the Note, Grantee may.dtjGrantefe S’ oj&fti /cc\afo all of the sums secured by this Instrument to be
    immediately due and payable without further demand, and may invdke^ne^ower.Qf salelheedln granted (and Grantor appoints Grantee its agent
    and attorney in fact to exercise said power of sale) and any other remedies permitted by applicable law or as provided herein. Grantor
    acknowledges that the power of sale herein granted may be exercised by Grantee.without prior judicial hearing. Grantor has the right to bring
    and action to assert the non-existence of a breach or any other defense of Grantor to acceleration of sale. If Grantee invokes the Power of Sale,
    Grantee shall mail to Grantor a copy of the Notice of Sale in the manner prescribed to applicable law. Grantee shall sell the Property according to
    the laws of the State of Georgia at the time and place and under the terms designated in the Notice of Sale in one or more parcels and in such
    order as Grantee may determine. Grantee or Grantee’s designee may purchase the Property at any sale. If Grantee exercises its nonjudicial
    foreclosure remedies, the Grantee shall cause advertisement of the time, place and terms of the sale once a week for four (4) consecutive weeks
    immediately preceding such sale (but without regard to the number of days) in the newspaper in which Sheriffs Sales are advertised in the
    county of the real property. The advertisement so published shall be sufficient notice to Grantor, and Grantor hereby waives rights to any and all
    of notices. Grantee's conveyance, at Grantee's option, as to any public sale, may be in fee simple with either warranties of title or without
    warranties if Grantee shall so elect, and to this end. Grantor hereby constitutes and appoints Grantee, its agent and attorney-in-fact to make such
    conveyance and to thereby divest Grantor of all rights, title, interest, equity and equity of redemption that Grantor may have in and to the
    Property and to vest the same in the purchaser or purchasers at such sale or sales, and all of the acts and doing of said agent and attorney in fact
    are hereby ratified and confirmed and any recitals in said conveyance or conveyances as to facts essential to a valid sale shall be binding upon
    Grantor. The aforesaid power of sale, conveyance, and agency hereby granted are coupled with an interest and are irrevocable by death or
    otherwise, are granted as cumulative of the other remedies provided hereby or by law for collection of the indebtedness secured hereby and shall
    not be exhausted bv one exercise thereof but may be exercised until foil payment of all indebtedness secured hereby is paid in foil.
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         In the event of any such foreclosure sale by Grantee, Grantor shall be deemed a tenant holding over an shall forthwith deliver possession to
    the purchaser of purchasers at such sale or sales or be summarily dispossessed as a tenant at sufferance according to the provisions of law
    applicable to tenants holding over.
          Grantee may adjourn from time to time any sale by it to be made under or by virtue of this Security Deed by announcement at the time and
    place appointed for such sale for such sale, and except as otherwise provided by any applicable law. Grantee, without further notice of
    publication and may make such sale at the lime and place to which the same shall be so adjourned. In the event of any sale of the Property or any
    part thereof, the proceeds of said sale shall be applied first to the expenses of such sale and all proceedings in connection therewith including
     reasonable attorneys' fees and costs of collection, then to taxes and insurance and other items advanced by Grantee to preserve its interest in the
    Property, then to the payment of late charges and other charges, then to the payment of accrued and unpaid interest, then to the payment of any
    outstanding principal balance to the Note, with the balance of the secured indebtedness, if any, to Grantor or other creditors if required by
    applicable law. Grantee at Grantee's option is authorized to foreclose this deed subject to the rights of any tenants of the Property, and the failure
    to make any such tenants parties to such foreclosure proceedings and to foreclose their rights will not be, nor be asserted to be by Grantor, a
    defense to any proceedings instituted by Grantee to collect the secured indebtedness.
           Further, if a default shall have occurred and be continuing. Grantee may, in addition to the other rights and remedies provided in this
    Instrument, either with or without entry of taking possession as provided herein or otherwise, proceed by a suit or suits in law or in equity or by
    any other appropriate proceeding or remedy (i) to enforce payment of the Note or the performance of any term, covenant, condition or
    agreement of this Security Deed or other loan documents, or any other rights and (ii) to pursue any other remedies available to it, all as Grantee
    shall determine most effectual for such purposes, including, but not limited to, the exercise of all rights and remedies available to Grantee as a
    secured party under the Uniform Commercial Code as enacted in the State of Georgia and to exercise all rights and remedies provided to Grantee
    under the Assignment of Leases conveyed to Grantee in connection with this Loan. In case Grantee shall have proceeded to enforce any right,
    power or remedy under this Security Deed by foreclosure, entry or otherwise, and such proceeding shall have been discontinued or abandoned
    for any reason, or shall have been determined adversely to Lender, then and in every such case, Grantor and Grantee shall be restored to their
    former positions and rights hereunder, and all rights, powers and remedies of Grantee shall continue as if no such proceeding had taken place.
    Grantee shall have the power (i) to institute and maintain any suits and proceedings as Grantee may deem expedient to prevent any impairment of
    the Property by acts which may be unlawful or any violation of the Security Deed; (ii) to preserve or protect its interest in the Property and in the
    rents, issues, profits and revenues arising therefrom; and (iii) to restrain the enforcement of or compliance with any legislation or other
    governmental enactment, rule or order that may be unconstitutional or otherwise invalid, if the enforcement of or compliance with such
    enactment, rule or order would impair the security hereunder or be prejudicial to the interest of Grantee. In the case of any receivership,
    insolvency, bankruptcy, reorganization, arrangement, adjustment, composition or other proceedings affecting Grantor or the creditors or
    property of Grantor, Grantee, to the extent permitted by law, shall be entitled to file such proofs of claim and other documents as may be
    necessary of advisable in order to have the claims of Grantee allowed in such proceedings for the entire amount of the indebtedness at the date of
    the institution of such proceedings and for any additional portion of the indebtedness accruing after such date.
          In addition, if a default shall have occurred and be continuing, Grantee, upon application to a court of competent jurisdiction, shall be
    entitled as a matter of right without notice and without regard to the occupancy or value of any security for the indebtedness or the solvency of
    any party bound for its payment, to the appointment of a receiver to take possession of and operate the Property and collect and apply the
    revenues and the Grantor hereby consents thereto. The receiver shall have all of the rights and powers permitted under the laws of the State of
    Georgia. Grantor will pay to Grantee upon demand, all expenses, including receivers' fees, reasonable attorneys' fees, costs and agent’s
    compensation, all incurred pursuant to such receiver appointment and all such expenses could be considered a portion of the indebtedness
    secured hereby.
          19. RELEASE AND CANCELLATION. Upon fulfillment of all obligations, the performance of which is secured by this Security Deed,
    and upon payment of the Debt, this Security Deed and the Note or other Document shall be marked "Satisfied" and returned to Grantor, and this
    conveyance shall be null and void and may be cancelled of recorded at the request and cost of Grantor, and title to the Property shall revest as
    provided by Jaw.
          20. MISCELLANEOUS. The captions and headings of the paragraph of this Security Deed are for convenience only and shall not be used
    to interpret or define any provisions. All remedies provided herein are distinct and cumulative to any other right or remedy under this Security
    Deed or afforded by law or equity .and may be exercised concurrently, independently or successively. All covenants contained herein shall bind,
    and the benefits and advantages shall inure to, the respective heirs, executors, administrators, successors or assigns. Whenever used the singular
    number shall include the plural, and the plural the singular, and the use of any gender shall be applicable to all genders. This Security Deed shall
    be governed by and construed under Georgia law. Any forbearance by Grantee in exercising any right to remedy hereunder, or otherwise
    afforded by applicable law, shall not be a waiver of or preclude the exercise of any such right or remedy. The procurement of insurance or the
    payment of taxes or other liens or charges by Grantee shall not be a waiver of Grantee's right to accelerate the maturity of the Debt. Time is of
    the essence in the payment or performance of any of the obligations, or of any covenant or warranty contained in this Security Deed or in the
    Note, or other Document, and riders, exhibits or addenda attached hereto shall be deemed incorporated herein by this reference.
          21. WAIVER OF TRIAL BY JURY. ONLY TO THE EXTENT ALLOWED BY APPLICABLE LAW, THE UNDERSIGNED
    HEREBY WAIVE THE RIGHT TO TRIAL BY JURY OF ANY MATTERS OR CLAIMS ARISING OUT OF THIS SECURITY DEED
    OR ANY LOAN DOCUMENT EXECUTED IN CONNECTION HEREWITH OR OUT OF THE CONDUCT OF THE RELATIONSHIP
    BETWEEN THE UNDERSIGNED AND GRANTEE. THIS PROVISION IS A MATERIAL INDUCEMENT FOR GRANTEE TO
    MAKE THE LOAN SECURED BY THIS SECURITY DEED. FURTHER, THE UNDERSIGNED HEREBY CERTIFY THAT NO
    REPRESENTATIVE OR AGENT OF GRANTEE, NOR GRANTEE’S COUNSEL, HAS REPRESENTED, EXPRESSLY OR
    OTHERWISE, THAT GRANTEE WOULD NOT SEEK TO ENFORCE THIS WAIVER OR RIGHT TO JURY TRIAL PROVISION IN
    THE EVENT OF LITIGATION. NO REPRESENTATIVE OR AGENT OF GRANTEE, NOR GRANTEE’S COUNSEL, HAS THE
    AUTHORITY TO WAIVE, CONDITION OR MODIFY THIS PROVISION.
    IN TESTIMONY WHEREOF, each individual Grantor has hereunto
    set his hand and adopted as his/her seal the word "SEAL" appearing
    beside or near his/fier signature, this sealed instrument being executed
    and delivered oa Jne date first above written.
    Grantor: S
                                  KENNEThTjREEN
                                                                    (SEAL)     Grantor:   y                  CYNTHIA GREEN
                                                                                                                                                '(SEAL)


    Grantor:                                                         (SEAL)    Grantor:                                                          (SEAL)

    Signed^ealed and deli' ;red in the presence of:            xw**uiuilt




                                                      l3(                        \
    Notary Public             .     Cs                ^   \                       |


                            [NOTARIAL SEAL]

    Commission Expiration Date:________________________________
    The debt which this instrument was given to secure having been paid in full, this instrument is hereby cancelled and the Clerk of Superior Court
    of__________________ County is hereby authorized and directed to mark it satisfied of record. This_____ _ day of___________ ,_____ .
    By:


    (Print Name)                                                            - ! 3 q 3 PG 01G q                   .
    (Tide)
    Witness:.

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                                               [Attach Legal Description]




                TRACT ONE:
                415 Ashford Circle, LaGrange, GA

                All that lot, tract or parcel of land situate lying and being in Land Lots 18 and 19 of
                the 6th Land District, Troup County, Georgia, being all of Lot 11 of Ashford Place
                Subdivision as shown on that plat of said subdivision recorded in Plat Book 20B,
                Page 112, Troup County, Georgia, records and more particularly shown and
                described on that certain plat of survey prepared by Henry H. Jackson, Georgia
                Registered Land Surveyor No. 2274, dated June 6,1990, recorded in Plat Book 33,
                Page 168, aforesaid records, which plats are by reference incorporated herein and
                made a part hereof for the purpose of a more complete and accurate description.

                The above-described property is subject to the Covenant and Restrictions for Ashford
                Place Subdivision recorded at Deed Book 457, Page 753, Troup County, Georgia
                deed records, as amended.


             TRACT TWO:
         517 Boyd Road, Hogansville, GA

                All those lots, tracts, or parcels of land with all buildings and improvements thereon,
                situate, lying and being in Land Lot 128 of the 12lh Land District, Troup County,
                Georgia, and being Lots Three (3), and Four (4), Block AB@ as per plat of the Oak
                Spring Subdivision of the J. R. Cooper Estate made by R. M. Ross, C.E., dated April
                1941 and recorded in Plat Book 3, Page 2 in the Office of the Clerk of the Superior
                Court of said Troup County, Georgia.



                TRACT THREE:
                210 White Street, Hogansville, GA

                All that tract or parcel of land with all buildings and improvements thereon, situated
                in or near the City of Hogansville, County of Troup and State of Georgia, shown on
                First Supplement to Village Property Map for United States Rubber Company, Stark
                and Reid Mills, Survey and Plat by Clarence J. White, Jr., dated May 6,1955, as Lot
                No. 10 in Block 22, said plat being recorded in the Office of the Superior Court of
                Troup County, Georgia, in Plat Book 2, Pages 369 and 370.




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           DEBTOR:                                                            SECURED PARTY:
                 KENNETH GREEN                                                Branch Banking and Trust Company
                 rVKITHTA   fl PTTITU
                                                                              295 BULLSBORO DR
                                                                              NEWNAN, GA 30263-1019
    X      (a)      All buildings, structures and improvements of every nature whatsoever now or hereafter situated on the Land, and all
                     fixtures, machinery, equipment, building materials, appliances and goods of every nature now or hereafter located on
                    or upon, or intended to be used in connection with, the Land or the improvements thereon, including, but not by way
                    of limitation, (hose for the purposes of supplying or distributing heating, cooling, electricity, gas, water, air and light;
                    and all elevators and related machinery and equipment; all plumbing; and all personal property and fixtures of every
                    kind and character now or at any time hereafter located in or upon the Land or the improvements thereon, or which
                    may now or hereafter be used or obtained in connection therewith, including, without limitation, fixtures, machinery,
                    equipment, appliances, building supplies and materials, books and records, contract rights, chattels,general
                    intangibles and personal property of every kind and nature whatsoever now or hereafter owned by Debtor and located
                    in, on or about, or used or intended to be used with or in connection with the use, operation or enjoyment of the Land
                    or any improvements thereon, including all extensions, additions, improvements, betterments, after-acquired
                    property, renewals, replacements and substitutions, or proceeds from a permitted sale of any of the foregoing, and all
                    the right, title and interest of Debtor in any such fixtures, machinery, equipment, appliances, and personal property
                    subject to or covered by any prior security agreement, conditional sales contract, chattel mortgage or similar lien or
                    claim, together with the benefit of any deposits or payments now or hereafter made by Debtor or on behalf of Debtor,
                    alt trade names, trademarks, service marks, logos, patents and goodwill related thereto which in any way now or
                    hereafter belong, relate or appertain to the Land or any improvements thereon or any part thereof or are now or
                    hereafter acquired by Debtor, and all accounts, chattel paper, contract rights, documents, equipment, fixtures, and
                    general intangibles constituting proceeds acquired with cash proceeds of any of the property described herein, and all
                    other interests of every kind and character in all of the real, personal, intangible and mixed properties described
                    herein which Debtor may now own or at any time hereafter acquire, all of which are hereby declared and shall be
                    deemed to be fixtures and accessions to the Land and a part of the Land as between the parties hereto and all persons
                    claiming by, through or under them.
    X      (b)      All of the interest of Debtor in all easements, rights-of-way, licenses, operating agreements, strips and gores of land,
                    vaults, streets, ways, alleys, passages, sewer rights, waters, water courses, water rights and powers, oil and gas and
                    other minerals, flowers, shrubs, crops, trees, timber and other emblements now or hereafter located on (he Land or
                    under or above the same or any pan or parcel thereof, and all estates, rights, titles, interests, privileges, libenies,
                    tenements, hereditaments and appurtenances, reversion and reversions, remainder and remainders, whatsoever, in
                    any way belonging, relating or appertaining to the Land or any part thereof, or which hereafter shall in any way
                    belong, relate or be appurtenant thereto, whether now owned or hereafter acquired by Debtor.
    X___ (c)        All income (including but not limited to, all revenues, pledges, income, gifts, donations and offerings from whatever
                    source owned by Debtor), rents, issues, royalties, profits, revenues and other benefits of the Land from time to time
                    accruing, all payments under leases or tenancies, proceeds of insurance, condemnation awards and payments and all
                    payments on account of oil and gas and other mineral leases, working interests, production payments, royalties,
                    overriding royalties, rents, delay rents, operating interests, participating interests and other such entitlements, and all
                    the estate, right title, interest, property, possession, claim and demand whatsoever at law, as well as in equity, of
                    Debtor of, in and to the same (hereinafter collectively referred to as the "Revenues"); reserving only the right to
                    Debtor to collect the Revenues as provided in the Deed And Agreement executed by Debtor in favor of Secured
                    Party.
   X       (d)      All construction or development contracts, subcontracts, architectural agreements, labor, material and payment
                    bonds, and plans and specifications relating to the construction of improvements on the Land including, without
                    limitation (i) any engineering or architectural agreements entered into with respect to the design and other engineering
                    or architectural services; (ii) the plans and specifications for the construction of said improvements prepared by any
                    engineer or architect; and (iii) any agreements entered into with contractor, suppliers, materialmen or laborers with
                    respect to construction of improvements on the Land.

   X      (e)       Any and all management contracts, agreements, or other correspondence entered into by and between Debtor and
                    third parties for the management of the collateral secured hereby.

    Hr    (0        All of Debtor's computer equipment, including, but not limited to, operating manuals and tools, computers, printers,
                    monitors and all accessions thereto and all hardware and software installed (herein, all customer lists, corporate books
                    and records, service and operating manuals, all computer records, including floppy disks and internal hard drives, tax
                    refunds, licenses, equipment leases and rights under manufacturers' warranties, and all proceeds therefrom, whether
                    cash, insurance or otherwise.

    1___(g)         All equipment, including goods, of every kind and character now or hereafter owned by Debtor including fixtures,
                    machinery, equipment, appliances, vehicles and other like personal property, conditional sales contracts, chattel
                    mortgages or other similar liens or claims, together with the benefit of any deposits or payments now or hereafter
                    made by Debtor or on behalf of Debtor, all trade fixtures, plumbing, elevators, related machinery and equipment,
                    appliances, building supplies and materials together with any and all accessions, parts, attachments, tools, operating
                    manuals and all replacements thereof, as well as any contract rights, choses in action, and general intangibles all
                    considered equipment, as well as products and proceeds therefrom, whether by cash, insurance or otherwise, which
                    Debtor may now own or hereafter at any time acquire.
    X___ (h)        All inventory now or hereafter acquired by Debtor, together with all related contract rights, instruments, conditional
                    sales contracts, or other similar liens or claims, together with the benefit of any deposit or payment now or hereafter
                    made by Debtor or on behalf of Debtor, chattel paper, documents, general intangibles, goods, related building
                    supplies and materials, parts, accessories, attachments, operating manuals and all replacements thereof which
                    comprise Debtor’s inventory, and vehicles which are Debtor’s inventory, and all other interests of every kind and
                    character which Debtor may now own or hereafter at any time acquire, together with proceeds and products acquired
                    with cash, insurance or other proceeds of the inventory described herein.
    X___(i)         All accounts including, but not limited to, accounts receivable, books and records, contract rights, documents,
                    checks, notes, drafts, conditional sales contracts, chattel paper or other similar liens or claims, together with the
                    benefit of any deposits or payments now or hereafter made by Debtor or on behalf of Debtor, acceptances and other
                    forms of obligations and receivables, general intangibles, income, profits and other monies generated from said
                    accounts, and instruments, as well as proceeds acquired with cash, insurance, or other proceeds of any of the
                    property described herein and all other interests of every kind or character and all of the above-referenced accounts
                    described herein which Debtor may now own or at any time hereafter acquire, including proceeds and products
                    therefrom.
          0)        Other types of collateral including farm products, vehicles (excluding Debtor’s personal vehicles, if any), books and
                    records, consumer goods, any other tradenames, trademarks, servicemarks, logos, patents and goodwill which in any
                    way now or hereafter belong, relate or pertain to Debtor or Debtor's business.

          Note: Please check all applicable paragraphs.



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                    GRANTOR: KENNETH GREEN
                              CYNTHIA GREEN
                    LENDER: BRANCH     BANKING & TRUST
                    DATE OF SECURITY DEED: FEBRUARY 16, 2007


                                                            WAIVER OF BORROWER’S RIGHTS

                            BY EXECUTION OF THE PARAGRAPH, GRANTOR EXPRESSLY: (1) ACKNOWLEDGES THE
                    RIGHT TO ACCELERATE THE DEBT AND THE POWER OF ATTORNEY GIVEN HEREIN TO LENDER TO
                    SELL THE PREMISES BY NONJUDICIAL FORECLOSURE UPON DEFAULT BY GRANTOR WITHOUT
                    ANY JUDICIAL HEARING AND WITHOUT ANY NOTICE OTHER THAN SUCH NOTICE AS IS REQUIRED
                    TO BE GIVEN UNDER THE PROVISIONS OF SAID SECURITY DEED; (2) WAIVES ANY AND ALL RIGHTS
                    WHICH GRANTOR MAY HAVE UNDER THE FIFTH AND FOURTEENTH AMENDMENTS TO THE
                    CONSTITUTION OF THE UNITED STATES, THE VARIOUS PROVISIONS OF THE CONSTITUTION FOR
                    THE SEVERAL STATES, OR BY REASON OF ANY OTHER APPLICABLE LAW TO NOTICE AND TO
                    JUDICIAL HEARING PRIOR TO THE EXERCISE BY LENDER OF ANY RIGHT OR REMEDY HEREIN
                    PROVIDED TO LENDER, EXCEPT SUCH NOTICE AS IN SPECIFICALLY REQUIRED TO BE PROVIDED IN
                    SAID SECURITY DEED; (3) ACKNOWLEDGES THAT GRANTOR HAS READ THIS SECURITY DEED AND
                    ANY AND ALL QUESTIONS REGARDING THE LEGAL EFFECT OF SAID DEED AND ITS PROVISIONS
                    HAVE BEEN EXPLAINED FULLY TO GRANTOR AND GRANTOR HAS BEEN AFFORDED AN
                    OPPORTUNITY TO CONSULT WITH COUNSEL OF GRANTOR’S CHOICE PRIOR TO EXECUTING THIS
                    DEED; (4) ACKNOWLEDGES THAT ALL WAIVERS OF THE AFORESAID RIGHTS OF GRANTOR HAVE
                    BEEN MADE KNOWINGLY, INTENTIONALLY AND WILLINGLY BY GRANTOR AS PART OF A
                    BARGAINED FOR LOAN TRANSACTION; (5) ACKNOWLEDGES THAT GRANTOR'S RIGHTS TO NOTICE
                    SHALL BE LIMITED TO THOSE RIGHTS TO NOTICE PROVIDED IN THIS SECURITY DEED AND NO
                    OTHER; AND (6) AGREES THAT THE PROVISIONS HEREOF ARE INCORPORATED INTO AND MADE A
                    PART OF THE SECURITY DEED.




                      READ AND AGREED BY GRANTOR:                                                            (SEAL)
                Signed,sea(ed and delivered in the presence of:
                                          3                                                                  (SEAL)
                                                                              Grantor       THU GREEN


                    N OTARY PUBLIC
                                          JLa+*                               Grantor
                                                                                                             (SEAL)

                                                                                                             (SEAL)
                                                                              Grantor

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                                                      CLOSING ATTORNEYS AFFIDAVIT

                    Before ihe undersigned attesting officer personally appeared the undersigned closing attorney, who having been first
           duly sworn according to law, states under oath as follows:
                      In closing the above loan, but prior to the execution of the Deed to Secure Debt and "Waiver of the Borrower’s Rights"
           by the Borrower(s), 1 reviewed with and explained to the Borrower(s) the terms and provisions of the Deed to Secure Debt and
           particularly the provisioas, thereof authorizing the Lender to sell the secured property by a nonjudicial foreclosure under the
           power of sale, together with the "Waiver of Borrowers Rights" and informed the Borrower(s) of Borrower's rights under the
           Constitution of the State of Georgia and the Constitution of the United States to notice and a judicial hearing prior to such
           foreclosure in the absence of a knowing, intentional and willing contractual waiver by Borrowers) of Borrower’s rights. After
           said review with and explanation to Borrowers), Borrowers) executed the Deed to Secure Debt and "Waiver of Borrower’s
           Rights."
                    Based on said review with and explanation to the Borrower(s) knowingly, intentionally and willingly executed the
           waiver of Borrower's constitutional rights to notice and judicial hearing prior to any such nonjudicial foreclosure.




          Sworn to and subscribed before me
          onjhe date set fonh above
           (flAjjji'J. ULtdJfiLiAS
           NOTARY PUBLIC
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                                                      I    I GEORGIA
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                                                                            I.
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          Prepared by: PAULINE V CRAWFORD                               Security Deed Recorded at Deed Book i
          Retum to: [Must be returned to natural person.]               Page 0706         TROUP           County, Georgia Records:
             BRANCH RAlWTNf: f. TRUST
             90S RTrTT.gBOPO nRTVF
             NEMKAU OFOROTA ^0261
             ATTN PAULINE V CRAWFORD
             9540890214 00002
                                     MODIFICATION AGREEMENT
                         TO GEORGIA SECURITY DEED AND SECURITY AGREEMENT

                   This Modification Agreement to Georgia Security Deed and Security Agreement ("Agreement") is made
          and entered into as of this 27th day of                           April, 2011                       , between
           KENNETH GREEN

           having an address at 415 ASHFORD C1R LAGRANGE, GA 302408898_________________________________
          (collectively, if applicable "Grantor") and BRANCH BANKING AND TRUST COMPANYhaving an address at
            NEWNAN - COMMERCIAL LOANS, 295 BULLSBORO PR, NEWNAN, GA : ("Bank"),

                    WHEREAS, Grantor (or CYNTHIA GREEN

          if different than Grantor who is referred to herein as "Borrower") is indebted to Bank pursuant to the promissory note
          dated                                February 16,2007                              . in the original principal amount of
            THREE HUNDRED TWENTY THOUSAND EIGHT HUNDRED THIRTY-ONE DOLLARS & 27/100
          ($ 320,831.27______                       J Dollars (including all renewals, extensions and modifications thereto, the
          "Promissory Note");

                    WHEREAS, the Promissory Note is secured by a Georgia Security Deed and Security Agreement (the
          "Security Deed") from Grantor in favor of Bank, dated     FFBHTIAHV 16, 7007,
          of record on FFBPUAliv 71___________________            70(37           in Deed Book i iqi           ., Page
             (17(16         , in      TRdlTP                               County, Georgia Records, which conveyed
          certain real property and other property described on Exhibit "A" attached hereto and incorporated herein by
          reference hereto ("Property");

                  WHEREAS, Grantor (or Borrower) and Bank have agreed to an extension in the maturity date of the
          Promissory Note, as evidenced by that |xl Note Modification Agreement or | ] Modification, Renewal and
          Restatement of Note (check one) dated as of the date of this Agreement;

                   NOW; THEREFORE, for and in consideration of the mutual covenants herein contained, and other good
          and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, Grantor and Bank hereby
          agree ns follows;

                   I.       The recitals siated above are true and correct in all material respects and shall be incorporated into
          the body of this document.

                  2.         The Security Deed is hereby modified so as to reflect that the current maturity date of the
          Promissory Note of               March 27. 2011       has been extended to the new maturity date of
                 April 27, 2012

                   3.       Grantor represents and warrants to Bank the following: (a) Grantor is in compliance with the
          terms and provisions of the Security Deed in all respects; (b) no lien or encumbrance has been recorded affecting the
          real property covered by the Security Deed; and (c) Grantor has paid all ad valorem and other property taxes, if any,
          due and payable as of the date of this Agreement.
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                       4.       This Agreement shall be governed by the laws of Ihc State of Georgia.

                        5.        Except as modified herein, all of the terms and provisions of the Security Deed remain in full
               force and effect. Time is of the essence of this Agreement.




                     IN WITNESS WHEREOF, the parties hereto have executed this Agreement under seal or have caused this
              Agreement to be executed by their respective duly authorized officers.



                                                                        GRANTOR(S)
              Signed, sealed and delivered in the
              Presence of:
                                                                        (Corporate Name)
                                                                        By:
              Unofficial Witness:
                                                                        Title:.

              Notary Public
                                                                        By:


              Commission Expiration Date
                                                                        Title:.

              Signed, sealed and delivered in the
              Presence of:
                                                                        (Partnership, LLC, LLP, LLLP Name)

              Unofficial Witness:                                       By:

                                                                       Title:
              Notary Public
                                                                        By:

                                                                       Title:
              Commission Expiration Date
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              Signed, scaled and delivered in the                      Title:
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                       vA’L I
              Unofficial Witness:                             f
                                                                        (Individui   rrantor)
          \
              Notary Public                         V
                                                                         KENNETH GREEN
                                                                        (Individual Grantor) »
              Commission Expiration Date
                                                                         CYNTHIA GREEN
              Signed, sealed and delivered in the
              Presence of:    j .•       /                               BANK.:

                                L1
              Unofficial Witness:
                                                                         BRANCH BANKING AND TRUST COMPANY


                                                                        By:
              Notary Public
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       TRACT ONE:
       415 Ashford Circle, LaGrange, GA

       All that lot, tract or parcel of land situate lying and being in Land Lots 18 and 19 of
       the 6th I-and District, Troup County, Georgia, being all of Lot 11 of Ashford Place
       Subdivision as shown on that plat of said subdivision recorded in Plat Book 20B,
       Page lt2, Troup County, Georgia, records and more particularly shown and
       described on that certain plat of survey prepared by Henry H. Jackson, Georgia
       Regis :ej*ed Land Surveyor No. 2274, dated June 6, 1990, recorded in Plat Book 33,
       Page 168, aforesaid records, which plats are by reference incorporated herein and
       made a part hereof for the purpose of a more complete and accurate description.

       The a Dove-described property is subject to the Covenant and Restrictions for Ashford
       Place Subdivision recorded at Deed Book 457, Page 753, Troup County, Georgia
       deed records, as amended.


       TRACT TWO:
   517 Boyd Road, Hogansville, GA

       Ail those lots, tracts, or parcels of land with all buildings and improvements thereon,
       situa‘;ej lying and being in Land Lot 128 of the 12* Land District, Troup County,
       Georgia, and being Lots Three (3), and Four (4), Block AB© as per plat of the Oak
       Spring Subdivision of the J. R. Cooper Estate made by R- M. Ross, C.E., dated April
       1941 and recorded in Plat Book 3, Page 2 in the Office of the Clerk of the Superior
       Couit of said Troup County, Georgia.



       TRACT THREE:
       210 White Street, Hogansville, GA

        All lhat tract or parcel of land with all buildings and improvements thereon, situated
        in or dear the City of Hogansville, County of Troup and State of Georgia, shown on
        Firs': Supplement to Village Property Map for United States Rubber Company, Stark
        and Reid Mills, Survey and Plat by Clarence 3. White, Jr., dated May 6, 1955, as Lot
        No. id in Block 22, said plat being recorded in the Office of the Superior Court of
        Tro ip County, Georgia, in Plat Book 2, Pages 369 and 370.
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                                     EXHIBIT “E”
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            Branch Banking and Trust Company
            445 Dexter Avenue, Suite 8000
            Montgomery, AL 36104
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                                      ASSIGNMENT OF SECURITY INSTRUMENTS
                                                                                                                             !
                    BRANCH BANKING AND TRUST COMPANY, a North Carolina banking corporation                                   f
            (“Assignor”), whose address is 445 Dexter Avenue, Suite 8000, Montgomery, AL 36104,
            Attention: John E. Beasley, for good and valuable consideration, the receipt and sufficiency of                  1
            which are hereby acknowledged, hereby assigns, transfers, sets over and conveys to                               f
            SUMMITBRIDGE NATIONAL INVESTMENTS V LLC (“Assignee”) whose address is 1700                                       i
            Lincoln Street, Suite 2150, Denver, CO 80203, all of Assignor’s right, title and interest in and to              i
                                                                                                                             1
            those Security Instruments described on Schedule “A”, together with the real property therein
            described as die same may have been assigned, amended, supplemented, restated or modified.
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                       TO HAVE AND TO HOLD the same unto Assignee and its successors and assigns                             I.
            forever.                                                                                                         S
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                   This Assignment is made without recourse or representation or warranty, express, implied                  i
            or by operation of law, of any kind and nature whatsoever.                                                       1
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                       Effective as of June    2016.                                                                         i
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                                          BRANCH BANKING AND TRUST COMPANY,
                                          a North Carolina banking corporation
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                                                                                           i
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                                          By/
                                            rpd: John E. Beasley//
                                            le: Senior Vice President


 this         day of June, 2016
 in the presence of:
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 Unofficial Witness A'vuiiPi31eJfre^
  V&CkPUl) /b^MWU >\h
 Notary Public               \JvJ                                                          I

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                                     SCHEDULE “A”                                                         !
                              Assignment of Security Instruments                                          i
                                                                                                         !
 Georgia Security Deed and Security Agreement dated February 16, 2007 granted by Kenneth                 I.
 Green and Cynthia Green in favor of Branch Banking and Trust Company and recorded on                    i
 February 21, 2007 in Book 1393 at Page 706 in the Office of the Clerk of Superior Court of              !
 Troup County, Georgia.
                                                                                                         1
 Modification Agreement to Georgia Security Deed and Security Agreement dated April 27, 2011             !
 granted by Cynthia Green in favor of Branch Banking and Trust Company and recorded on May               !
 5, 2011 in Book 1610 at Page 716 in the Office of the Clerk of Superior Court of Troup County,          f
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                                  EXHIBIT “F”
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Troup County News
             Troup County News

Publication Name:
Troup County News

Publication URL:
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Notice Popular Keyword Category:

Notice Keywords:
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        Notice Publish Date:
 Friday, September 13,2019

Notice Content

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LEGAL: 19-720
SEPTEMBER 6, 13, 20, 27, 2019
NOTICE OF SALE UNDER POWER
STATE OF GEORGIA
COUNTY OF TROUP
Under and by virtue of the power of sale contained in that certain Georgia Security Deed and Security Agreement executed by Kenneth Green
and Cynthia Green (together, Grantor) to Branch Banking and Trust Company, dated February 16, 2007 and recorded in Deed Book 1393,
Page 706, Troup County Records, as affected by certain Modification Agreement of Georgia Security Deed and Security Agreement dated
April 27, 2011 and recorded in Deed Book 1610, Page 716, aforesaid records, and that certain Assignment of Security Instruments from
Branch Banking and Trust Company to SummitBridge National Investments V LLC dated June 28, 2016 and recorded in Deed Book 1838,
Page 338, aforesaid records (collectively, as modified and/or amended from time to time, the Security Deed), the undersigned will sell at
public outcry before the door of the Courthouse of Troup County, Georgia during the legal hours of sale on the first Tuesday in October 2019
to the highest and best bidder for cash the following described property (the Premises), to wit:
TRACT ONE:
415 Ashford Circle, LaGrange, GA
All that lot, tract or parcel of land situate lying and being in Land Lots 18 and 19 of the 6th Land District, Troup County, Georgia, being all of
Lot 11 of Ashford Place Subdivision as shown on that plat of said subdivision recorded in Plat Book 20B, Page 112, Troup County, Georgia,
records and more particularly shown and described on that certain plat of survey prepared by Henry H. Jackson, Georgia Registered Land
Surveyor No. 2274, dated June 6, 1990, recorded in Plat Book 33, Page 168, aforesaid records, which plats are by reference incorporated
herein and made a part hereof for the purpose of a more complete and accurate description.
The above-described property is subject to the Covenant and Restrictions for Ashford Place Subdivision recorded at Deed Book 457, Page
753, Troup County, Georgia deed records, as amended.
TRACT TWO:
517 Boyd Road, Hogansville, GA
All those lots, tracts, or parcels of land with all buildings and improvements thereon, situate, lying and being in Land Lot 128 of the 12th
Land District, Troup County, Georgia, and being Lots Three (3), and Four (4), Block AB@ [sic] as per plat of the Oak Spring Subdivision of
the J.R. Cooper Estate made by R.M. Ross, C.E., dated April 1941 and recorded in Plat Book 3, Page 2 in the Office of the Clerk of the
Superior Court of said Troup County, Georgia.
TRACT THREE:
210 White Street, Hogansville, GA
All that tract or parcel of land with all buildings and improvements thereon, situated in or near the City of Hogansville, County of Troup and
State of Georgia, shown on First Supplement to Village Property Map for United States Rubber Company, Stark and Reid Mills, Survey and
Plat by Clarence J. White, Jr., dated May 6, 1955, as Lot No. 10 in Block 22, said plat being recorded in the Office of the Superior Court of
Troup County, Georgia, in Plat Book 2, Pages 369 and 370.
Together with all the Improvements now or hereafter erected on the property, and all easements, rights, appurtenances, rents, royalties,
mineral, oil and gas rights and profits, water rights and stock and all fixtures now or hereafter a part of the property, and all replacements
and additions.
TO HAVE AND TO HOLD all the Premises to the use, benefit and behoof of Lender, its successors and assigns, IN FEE SIMPLE forever.
The debt secured by the Security Deed is evidenced by a Promissory Note dated February 16, 2007, made by Grantor to the order of Branch
Banking and Trust Company in the original principal amount of $320,831.27, and assigned to SummitBridge National Investments V LLC (as
modified, amended, restated, or replaced from time to time, the Note), plus interest from date on the unpaid balance until paid, and other
indebtedness. SummitBridge National Investments V LLC Is the present owner and holder of the Note by virtue of the assignment referenced
above.
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Default has occurred and continues under the terms of the Note and Security Deed by reason of, among other possible events of default, the
nonpayment when due of the indebtedness evidenced by the Note and secured by the Security Deed and the failure to comply with the terms
and conditions of the Note and Security Deed. By reason of this default, the indebtedness evidenced by the Note has been accelerated and
the Security Deed has been declared foreclosable according to its terms.
The debt remaining in default, this sale will be made for the purpose of paying the same and all expenses of this sale, as provided in the
Security Deed and by law, including attorneys fees, notice of intent to collect attorneys fees having been given. Said property will be sold
subject to any outstanding ad valorem taxes and/or assessments (including taxes which are a lien but are not yet due and payable), possible
redemptive rights of the Internal Revenue Service, if any, any matters which might be disclosed by an accurate survey and inspection of the
property, and any assessments, liens, encumbrances, zoning ordinances, restrictions, covenants, and matters of record superior to the
Security Deed. The sale will be conducted subject (1) to confirmation that the sale is not prohibited under the U.S. Bankruptcy Code and (2)
to final audit and confirmation of the status of the loan and collateral with the holder of the Security Deed.
SummitBridge National Investments V LLC reserves the right to sell any portion of the aforementioned Premises in one or more separate
sales, to postpone the sale of any portion of the Premises, or to withdraw any portion of the Premises from sale.
To the best of the undersigneds knowledge and belief, Tract One is presently owned by Kenneth 1. Green and Cynthia R. Green, and Tract
Two and Tract Three are presently owned by Kenneth Lewin Green. To the best of the undersigneds knowledge and belief, the parties in
possession of Tract One are Kenneth L. Green and Cynthia R. Green, and tenants holding under Kenneth l. Green and Cynthia R. Green, and
the party in possession of Tract Two and Tract Three is Kenneth Lewin Green, and tenants holding under Kenneth Lewin Green.
SummitBridge National Investments V LLC, successor by assignment from Branch Banking and Trust Company.
Michael R. Wing, Esq.
Balch and Bingham, LLP
30 Ivan Allen Jr. Blvd., NW
Suite 700
Atlanta, Georgia 30308-3036
(404) 962-3574
THIS LAW FIRM IS ATTEMPTING TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

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                                                       VERIFICATION

                      Personally appeared before me, came Michael Florence, who, after first being duly
             sworn, did state that the factual statements contained in the Petition to Quiet Title are true and
             correct.

                    This 17th day of September, 2019.

                                                                FREEPORT TITLE & GUARANTY, INC.,
                                                                AS TRUSTEE OF THE TROUP COUNTY
                                                                THREE TRUST        ,


                                                                Michael Florence, President

              Sworn to and subscribed before me
              This 17th day of September, 2019



              Notary Public                                   "’it,




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                     Exhibit “C”
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                       IN THE SUPERIOR COURT OF TROUP COUNTY
                                  STATE OF GEORGIA

 FREEPORT TITLE & GUARANTY, INC.
 as TRUSTEE OF THE TROUP COUNTY
 THREE TRUST,

         Petitioner,
                                               Civil Action File No. 19-CV-0535
 v.

 SUMMITBRIDGE NATIONAL
 INVESTMENTS V, LLC,

         Respondent.


                        NOTICE OF FILING OF NOTICE OF REMOVAL

         Respondent SummitBridge National Investments V, LLC (“SummitBridge”), hereby

 notifies the Court that this matter has been removed to the United States Bankruptcy Court for

 the Northern District of Georgia (“Bankruptcy Court”). SummitBridge further shows the Court

 as follows:

         1.     SummitBridge has filed a Notice of Removal in the Bankruptcy Court. A copy of

 the Notice of Removal is attached hereto as Exhibit A.

         2.     This case is now pending in the Bankruptcy Court.

         3.     SummitBridge respectfully requests no further proceedings or actions be

 conducted or undertaken in this case unless it is remanded pursuant to 28 U.S.C. § 1446(d).




                                  [Signature on Following Page]




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         Respectfully submitted this 28th day of October, 2019.

                                                        /s/ Michael R. Wing
                                                        Michael R. Wing
                                                        Georgia Bar Number 770463
                                                        Austin B. Alexander
                                                        Georgia Bar Number 926059

 Balch & Bingham LLP
 30 Ivan Allen Jr. Boulevard, N.W.
 Suite 700
 Atlanta, Georgia 30308
 Telephone: (404) 261-6020
 Facsimile: (404) 261-3656
 mwing@balch.com
 aalexander@balch.com




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                                CERTIFICATE OF SERVICE

         I hereby certify that on October 28, 2019, a true and exact copy of Respondent

 SummitBridge National Investments V, LLC’s Notice of Filing of Notice of Removal was filed

 with the Court using the PeachCourt system and served upon Petitioner Freeport Title &

 Guaranty, Inc. as Trustee for the Troup County Three Trust via First Class United States Mail at

 5775 Glenridge Drive, Building B Suite 550, Atlanta, GA, 30328, USA care of its registered

 agent Mike Florence.


                                                    /s/ Austin B. Alexander
                                                    Austin B. Alexander
                                                    Georgia Bar Number 926059




 7746712.1
